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                             No. 21-10994

             UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT

                         JOHN D. CARSON, SR.,
                                          Plaintiff-Appellant,
                                    v.

                          MONSANTO COMPANY,
                                        Defendant-Appellee.

                Appeal from the United States District Court
                 for the Southern District of Georgia,
           No. 4:17-cv-00237-RSB-CLR, Hon. R. Stan Baker

                          EN BANC BRIEF FOR
                         PLAINTIFF-APPELLANT
                          JOHN D. CARSON, SR.


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            CERTIFICATE OF INTERESTED PERSONS

     Under Federal Rule of Civil Procedure 26.1 and Eleventh Circuit

Rules 26.1-1, 26.1-2(d), and 28-1(b), undersigned counsel for Appellant

John D. Carson, Sr. certifies that the following is a full and complete

list of all persons, firms, associations, partnerships, and corporations,

including subsidiaries, conglomerates, affiliates, parent corporations,

and other legal entities having an interest in the outcome of this case:

     Interested Persons

1.   Andiman, Alexis, Attorney for Amici Farmworker Association of

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     Pesticide Action Network, United Farm Workers, and UFW

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     Foundation

3.   Attaway, Scott K., Attorney for Plaintiff – Appellant




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15.   Hardeman, Edwin M., Plaintiff in Hardeman v. Monsanto Co.,

      No. 3:16-cv-00525-VC (N.D. Cal.)

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32.   McGreal, Paul, Amicus Curiae

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34.   Pilliod, Alberta, Plaintiff in Pilliod v. Monsanto Co., No.

      RG17862702 (Cal. Super. Ct.)

35.   Pilliod, Alva, Plaintiff in Pilliod v. Monsanto Co. No. RG17862702

      (Cal. Super. Ct.)

36.   Postman, Warren, Attorney for Amici Curiae William W. Buzbee,

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      Rubenstein, and Ernest A. Young in Hardeman v. Monsanto Co.,

      No. 19-16636 (9th Cir.)

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42.   Savignac, Mark C., Attorney for Amicus CropLife America

43.   Stansel, James C., Attorney for Amicus Pharmaceutical Research

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52.   Thomas O. McGarity, Paul McGreal, and David Rubenstein

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54.   Zionts, David Meir, Attorney for Defendant – Appellee




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56.   Bayer AG, BAYRY

57.   Baum Hedlund Aristei & Goldman

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59.   Carson, Jr., John D., P.C.

60.   Chamber of Commerce of the United States of America

61.   Covington & Burling LLP, Attorney for Defendant – Appellee

62.   CropLife America

63.   Earthjustice

64.   Farmworker Association of Florida

65.   Farmworker Justice

66.   Hollingsworth LLP, Attorney for Defendant – Appellee

67.   Hughes, Hubbard & Reed, LLP

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71.   Monsanto Company – MON, Defendant – Appellee

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73.   Pennington, P.A.

74.   Pesticide Action Network

75.   Pharmaceutical Research and Manufacturers of America

76.   Products Liability Advisory Council, Inc.

77.   Public Citizen, Inc.

78.   Public Citizen Litigation Group

79.   Public Justice, P.C.

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82.   United Farm Workers

83.   UFW Foundation

 February 13, 2023                  /s/ David C. Frederick
                                    David C. Frederick




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          STATEMENT REGARDING ORAL ARGUMENT

     The Court has ordered that: “Oral argument will be conducted the

week of June 12, 2023 in Atlanta, Georgia.” Doc.115.




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                           INTRODUCTION

     Monsanto has known for decades that its popular weedkiller,

Roundup, can cause cancer. But the company has refused to make the

product safer or at least to warn consumers – particularly long-term

users – that they should exercise caution and wear protective gear.

Instead, Monsanto has hidden Roundup’s defects and run television ads

featuring people spraying Roundup in shorts and without gloves.

Monsanto has pressed every court to consider failure-to-warn claims

against the company to be preempted. Every appellate court to consider

that argument has rejected it.

     Appellant Dr. John D. Carson, Sr., is one of Monsanto’s victims.

Unaware of the dangers, he used Roundup for decades before being

diagnosed with malignant fibrous histiocytoma, a soft-tissue cancer.

Hundreds of thousands of ordinary citizens like Carson have suffered

through illness – and even death – because Monsanto chose to pad its

profits rather than warn them of the risks of Roundup.

     In this Court, echoing arguments already rejected by multiple

appellate courts, Monsanto argues that Carson’s state-law failure-to-

warn claims are preempted by the Federal Insecticide, Fungicide, and


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Rodenticide Act, 7 U.S.C. §§ 136-136y, or FIFRA. The panel correctly

dismissed that argument. In Bates v. Dow AgroSciences LLC, 544 U.S.

431 (2005), the Supreme Court held that FIFRA preempts only state-

law labeling requirements that are broader than FIFRA’s own

misbranding prohibition. Failure-to-warn claims parallel that

prohibition, so they are not preempted.

     To support its preemption argument, Monsanto relies on agency

actions that have been either vacated or retracted, so they lack any

force of law, let alone one that might preempt. Although EPA re-

registered Roundup on an interim basis after an 11-year proceeding,

concluding for purposes of registration that the active ingredient in

Roundup was “not likely to be carcinogenic,” the Ninth Circuit vacated

that “not likely” conclusion as the hallmark of arbitrary action and not

based on substantial evidence. A letter from a subordinate EPA official

advising that cancer warnings should not be given was rooted in the

same vacated EPA assessment and in any case later was retracted by a

higher EPA official.

     Even if those agency actions still reflected EPA’s position, they

would lack the force of law to preempt. As Bates and multiple courts of


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appeals have held, the text of FIFRA itself provides that registration of

a pesticide is not a defense to misbranding, or to parallel state failure-

to-warn claims – a reading shared by the United States in a recent

submission to the Supreme Court. Carson’s state-law claims are not

preempted.

                  JURISDICTIONAL STATEMENT

     The district court had diversity jurisdiction under 28 U.S.C.

§ 1332 because the parties are citizens of different States and the

amount in controversy exceeds $75,000. The district court dismissed all

claims on March 22, 2021, App.106,1 and Carson timely appealed on

March 26, 2021, App.108-09. The Clerk entered final judgment on

March 30, 2021. Supp.App.434. This Court has appellate jurisdiction

under 28 U.S.C. § 1291.

                    STATEMENT OF THE ISSUE

     Whether FIFRA preempts Carson’s failure-to-warn claim.




     1“App.” refers to Carson’s appendix at Doc.28, and a second
volume filed here at Doc.123. “Supp.App.” refers to Monsanto’s three
supplemental appendix volumes at Docs.51-1, 51-2, and 51-3.

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                       STATEMENT OF THE CASE

A.    Statutory and Regulatory Background

      1. FIFRA regulates “the use, as well as the sale and labeling, of

pesticides.” Bates, 544 U.S. at 437. As relevant here, the statute

proscribes marketing “any pesticide which is . . . misbranded.”

§ 136j(a)(1)(E).2 A pesticide is “misbranded” if its label contains a

statement that is “false or misleading,” § 136(q)(1)(A), or omits adequate

instructions for use, necessary warnings, or cautionary statements,

§ 136(q)(1)(F), (G).

      If EPA determines a pesticide is misbranded, it may cancel the

pesticide’s registration, § 136d(b), issue “stop sale, use, or removal”

orders, § 136k(a), and seize misbranded products, § 136k(b).

Manufacturers that sell misbranded products face civil and criminal

penalties. § 136l.

      2. FIFRA requires pesticide manufacturers to register their

products with EPA. § 136a(a). The agency will register a pesticide if it

determines – based on data the manufacturer submits – that (1) the

product will not cause unreasonable harm to humans and the


      2   Except where noted, U.S. Code citations are to Title 7.

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environment, and (2) the product label is not “misbranded” under

FIFRA. § 136a(c)(5)(B)-(D). EPA re-reviews a pesticide’s registration,

including its effects on human health, every 15 years. § 136a(g)(1)(A).

      FIFRA confirms that obtaining registration does not relieve the

registrant of liability if the pesticide is misbranded. “In no event shall

registration of an article be construed as a defense for the commission of

any offense under [FIFRA].” § 136a(f)(2). Instead, registration is

merely “prima facie evidence that the pesticide, its labeling and

packaging comply with the registration provisions.” Id. “Because it is

unlawful under the statute to sell a pesticide that is registered but

nevertheless misbranded, manufacturers have a continuing obligation

to adhere to FIFRA’s labeling requirements.” Bates, 544 U.S. at 438.

      3. FIFRA “authorizes a relatively decentralized scheme that

preserves a broad role for state regulation.” Id. at 450. Indeed, States

may ban a federally registered pesticide, even if EPA does not consider

it misbranded. Id. at 446; see § 136v(a) (“A State may regulate the sale

or use of any federally registered pesticide or device in the State . . . .”).

      The only statutory limit on state authority is a “narrow”

preemption provision, Bates, 544 U.S. at 452, which “prohibits only


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state-law labeling and packaging requirements that are ‘in addition to

or different from’ the labeling and packaging requirements under

FIFRA,” id. at 447 (quoting § 136v(b)).

B.   Factual Background

     Roundup is a weedkiller developed by Monsanto. It contains the

active ingredient glyphosate, which kills plants at their roots. App.14

(¶ 13); see also Hardeman v. Monsanto Co., 997 F.3d 941, 951 n.1 (9th

Cir. 2021), cert. denied, 142 S. Ct. 2834 (2022); Pilliod v. Monsanto Co.,

282 Cal. Rptr. 3d 679, 689 (Cal. Ct. App. 2021), cert. denied, 142 S. Ct.

2870 (2022); Chapman v. Monsanto Co., 2022 WL 3971287, at *8 (S.D.

Tex.).3 Roundup was the first glyphosate product registered by EPA.




     3  Chapman and Hardeman arose from federal multidistrict
litigation, In re Roundup Products Liability Litigation, No. 3:16-md-
02741 (N.D. Cal.), and Pilliod arose in state court. Hardeman and
Pilliod affirmed jury verdicts against Monsanto on appeal; and
Chapman, after remand from the MDL court, denied Monsanto’s motion
for summary judgment and set the case for trial. All three decisions
reviewed the evidence of Monsanto’s internal science and
communications about Roundup – evidence Carson would get in
discovery if the case went to trial.

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     Monsanto long has marketed Roundup as a “safe” general-purpose

herbicide. App.14 (¶ 13).4 The Roundup label “said nothing about

wearing a mask or gloves when using it.” Pilliod, 282 Cal. Rptr. 3d at

692. To the contrary, Monsanto’s television commercials have depicted

people “spraying Roundup in shorts and without gloves,” id., or have

assured viewers that “Roundup can be used where kids and pets will

play,” App.20 (¶ 31). In 1996, after the New York Attorney General

sued Monsanto, the company stopped publishing advertisements in that

state that depicted its glyphosate-containing products as safe and

harmless. App.21 (¶ 33).

     1.    Monsanto’s mid-1970s registration of Roundup rested
           on falsified studies

     Monsanto has had EPA’s approval to sell glyphosate-based

weedkillers since the mid-1970s. App.14 (¶ 13). To obtain that

approval, Monsanto submitted studies testing whether glyphosate

caused cancer or cell mutations in animals. App.16 (¶ 21). The

company contracted Industrial Bio-Test Laboratories, or IBT), a

commercial laboratory, to conduct the studies. App.17 (¶ 23).


     4 Roundup is classified as a pesticide under FIFRA. See § 136(t),
(u); Bates, 544 U.S. at 434 n.1.

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      IBT’s studies were fraudulent, as both EPA and the Food and

Drug Administration later found. App.17 (¶ 24). After finding “routine

falsification of data” at IBT, one EPA reviewer stated it was “hard to

believe the scientific integrity of the studies.” Id.; see Pilliod, 282 Cal.

Rptr. 3d at 710 (“fraudulent data” from IBT). Three top IBT executives

were convicted of criminal fraud in 1983. App.17 (¶ 25).

      IBT’s fraud surfaced in 1976. App.17 (¶ 24). Yet Monsanto did

not inform consumers about the fraud or remove Roundup from the

market. App.18 (¶ 27); see Pilliod, 282 Cal. Rptr. 3d at 712. A 1983

EPA report explained that, after IBT’s fraud was exposed, some experts

advocated “that all 212 pesticides tested in whole or in part by IBT be

removed from the market pending retesting.” Pilliod, 282 Cal. Rptr. 3d

at 711 n.20. But “that option [wa]s not available under [then-]current

law.” Id.

      Nearly a decade passed before a valid study assessed the

carcinogenicity of glyphosate. App.16 (¶ 21). In 1985, EPA reviewed

studies showing that glyphosate could cause cancer in laboratory

animals. Id. Based on that review, EPA classified glyphosate as a

possible human carcinogen. Id.; see Hardeman, 997 F.3d at 951.


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     During its first two decades on the market, Roundup had “limited

utility to farmers because it killed all vegetation in an application area.”

NRDC v. EPA, 38 F.4th 34, 41 (9th Cir. 2022). In the mid-1990s,

Monsanto developed “Roundup Ready” seeds genetically modified to

tolerate glyphosate, and “glyphosate use skyrocketed.” Id.; App.18

(¶ 29). In 2000, Monsanto made nearly $2.8 billion in sales of Roundup.

App.18-19 (¶ 30).

     2.    Studies in the late 1990s showed glyphosate was
           genotoxic, but Monsanto refused further testing

     In the late 1990s, “four separate studies concluded that glyphosate

was possibly genotoxic.” Chapman, 2022 WL 3971287, at *8; see

Hardeman, 997 F.3d at 951; Pilliod, 282 Cal. Rptr. 3d at 691.

Genotoxic substances damage genetic information in cells, causing

mutations that may lead to cancer. See Pilliod, 282 Cal. Rptr. 3d at 689

n.2. Monsanto hired genotoxicity expert Dr. James Parry to review the

studies. Chapman, 2022 WL 3971287, at *8. Dr. Parry concluded

“glyphosate could be genotoxic” and “suggested a battery of tests that

Monsanto could conduct” to learn more. Id.

     Monsanto did not share Dr. Parry’s report or suggestions with

EPA. Id. at *9. Nor did it “conduct any of Dr. Parry’s suggested tests.”

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Id.5 After reading one of Dr. Parry’s reports, Dr. William Heydens,

Monsanto’s Product Safety Assessment Strategy Lead, candidly wrote

to colleagues:

     Let’s step back and look at what we are really trying to
     achieve here. We want to find/develop someone who is
     comfortable with the genotox profile of glyphosate/Roundup
     and who can be influential with regulators and Scientific
     Outreach operations when genotox issues arise. My read is
     that Parry is not currently such a person, and it would take
     quite some time and $$$/studies to get him there. We simply
     aren’t going to do the studies Parry suggests. Mark, do you
     think Parry can become a strong advocate without doing this
     work . . . ? . . . If not, we should seriously start looking for one
     or more other individuals to work with. Even if we think we
     can eventually bring Parry around closer to where we need
     him, we should be currently looking for a second/back-up
     genotox[] supporter. We have not made much progress and
     are currently very vulnerable in this area. We have time to
     fix that, but only if we make this a high priority now.

Pilliod, 282 Cal. Rptr. 3d at 723 (alterations omitted); see also

Chapman, 2022 WL 3971287, at *9. Another Monsanto employee later



     5  Monsanto’s failure to share the Parry report with EPA itself was
a violation of FIFRA, which requires manufacturers to report “factual
information regarding unreasonable adverse effects on the environment
of [a] pesticide” to EPA on an ongoing basis, § 136d(a)(2); see 40 C.F.R.
§ 159.158(a). In other cases, Monsanto failed to “point[] to record
evidence showing that it was . . . not required to submit the 1999 Parry
report to the EPA as part of its § 6(a)(2) [§ 136d(a)(2)] reporting duty for
its glyphosate registration.” Chapman, 2022 WL 3971287, at *13; see
Pilliod, 282 Cal. Rptr. 3d at 723 n.33.

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wrote to Dr. Heydens that if “somebody came to me and said they

wanted to test Roundup I know how I would react – with serious

concerns.” Chapman, 2022 WL 3971287, at *9; see also Hardeman, 997

F.3d at 971.

      Monsanto found another expert to work with. In 1999, in parallel

with Dr. Parry’s review, Monsanto retained Dr. Gary Williams, a

pathologist at New York Medical College. See Chapman, 2022 WL

3971287, at *9. Dr. Williams published an article in 2000 concluding

that “under present and expected conditions of use, Roundup herbicide

does not pose a health risk to humans.” Id. But “neither Dr. Williams

nor any other listed author wrote the article. Monsanto ghostwrote the

article.” Id.

      Monsanto then used the article as “an invaluable asset” in

“responses to agencies,” “Scientific Affairs rebuttals,” and “[r]egulator

reviews.” Id. (alteration by the court). At the same time, “Monsanto did

not disclose to the EPA that it ghostwrote the article.” Id. EPA later




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“relied on the Williams study in its 2017 evaluation of glyphosate’s

‘carcinogenic potential.’” Id.6

     In sum, “after its own hired expert, Dr. Parry, found that

glyphosate – alone and when mixed with other chemicals in Roundup –

had increased genotoxic risks, evidence was sufficient to infer that

Monsanto largely failed to perform further studies. Instead, Monsanto

helped author an article downplaying glyphosate’s health and safety

concerns.” Hardeman, 997 F.3d at 971.

     3.    Monsanto’s early 2000s internal communications show
           it resisted testing Roundup as formulated

     a. Glyphosate is not the only ingredient in Roundup; the product

also contains a surfactant. In the United States, the surfactant is

polyethoxylated tallow amine, or POEA. Pilliod, 282 Cal. Rptr. 3d at

691. Surfactants decrease surface tension. POEA therefore enables

Roundup to penetrate the waxy surface of a leaf, to kill the weed at its

roots – or to penetrate human skin.


     6 See Chapman, 2022 WL 3971287, at *9 (citing Office of Pesticide
Programs, EPA, Glyphosate Issue Paper: Evaluation of Carcinogenic
Potential 22, 98, 155 (Sept. 12, 2016), www.epa.gov/sites/default/files/
201609/documents/glyphosate_issue_paper_evaluation_of_carcincogenic
_potential.pdf. See Supp.App.189, 266, 326 (similarly relying on the
Williams article in a December 2017 revision of the same EPA paper).

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     POEA makes Roundup more genotoxic. An expert at one trial

testified that POEA and other ingredients make Roundup “about 50

times more genotoxic than glyphosate alone.” Id. at 695. As a result,

POEA is banned in Europe, where Monsanto now sells Roundup with a

less toxic surfactant. Id. at 691.

     “In 2010, when discussion was beginning about banning POEA in

Europe, Dr. William Heydens, Monsanto’s ‘product safety assessment

strategy lead,’ wrote in an email that Monsanto should defend the use

of POEA even as it was being phased out because of concern that a ban

on the substance would lead to a ‘domino effect’ in other parts of the

world.” Id. And “Dr. Heydens wrote in a 2015 email that Monsanto

believed that ‘the surfactant in the formulation . . . played a role’ in a

tumor promotion study.” Id.

     b. Monsanto never has tested whether Roundup as formulated –

which contains glyphosate, POEA, and other ingredients – causes

cancer. In 2002, Dr. Heydens emailed Donna Farmer, another

Monsanto toxicologist, suggesting Monsanto “re-visit” the genotoxicity

of Roundup; Dr. Heydens noted in that email that “[g]lyphosate is OK

but the formulated product (and thus the surfactant) does the damage.”


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Chapman, 2022 WL 3971287, at *9. In a 2009 email, Dr. Farmer wrote

that “Monsanto could not ‘say that Roundup does not cause cancer

[because Monsanto had] not done carcinogenicity studies with

Roundup.’” Id. (alteration in original).

     Nor has EPA made any formal findings about Roundup’s

carcinogenicity. In 2017, as part of its re-registration review of

glyphosate that began in 2009, EPA determined it could not reach “a

conclusion regarding the association between glyphosate exposure and

risk of [non-Hodgkin lymphoma].”7 EPA explained that the data were

uncertain, partly because “farmers and other applicators apply

formulations, not the active ingredient alone.”8 It admitted that EPA’s

advisors had “conflicting views on how to interpret the overall results

for [non-Hodgkin lymphoma].”9 And it acknowledged the need for more




     7  Office of Pesticide Programs, EPA, Revised Glyphosate Issue
Paper: Evaluation of Carcinogenic Potential 68 (Dec. 12, 2017),
https://cfpub.epa.gov/si/si_public_file_download.cfm?p_download_id=534
487 (Supp.App.235).
     8   Id. at 137 (emphasis added) (Supp.App.304).
     9   Id. at 67 (Supp.App.234).

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research “to determine whether formulation components, such as

surfactants, influence the toxicity of glyphosate formulations.”10

     In April 2019, EPA noted that “[m]any commenters expressed

concerns that glyphosate formulations are more toxic than glyphosate

alone and questioned the toxicity of inert ingredients and the lack of

transparency for inert ingredients and other contaminants in pesticide

products.”11 In response, EPA acknowledged that “few research

projects” had tried to compare “technical grade glyphosate” to

glyphosate-based formulations like Roundup.12 EPA said “[i]f at any

time, information becomes available that indicates adverse human

health effects of concern for exposure to glyphosate or its formulations,

the EPA intends to review it and determine the appropriate regulatory

action.”13 See Hardeman, 997 F.3d at 952 (same).




     10   Id. at 144 (Supp.App.311).
     11EPA, Glyphosate: Proposed Interim Registration Review
Decision 10, No. 0178 (Apr. 2019), http://tinyurl.com/y6h2u8w6.
     12   Id. at 11.
     13   Id.

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     4.    IARC classified glyphosate as a probable carcinogen
           in 2015

     “In 2015, a working group at the International Agency for

Research on Cancer (‘IARC’), an agency of the World Health

Organization,” concluded that glyphosate “is ‘probably carcinogenic to

humans.’” Id. at 951 (quoting IARC report); NRDC, 38 F.4th at 41

(same); see App.21-25. Soon after, other countries issued certain bans of

Roundup. See App.26-27.

     In 2017, based on the 2015 IARC finding, California categorized

glyphosate as a chemical known to the State to cause cancer and

required a warning label on glyphosate products. See Hardeman,

997 F.3d at 951-52; Cal. Office of Env’t Health Hazard Assessment,

Glyphosate, https://oehha.ca.gov/proposition-65/chemicals/glyphosate

(last visited Feb. 13, 2023).

     5.    An EPA official eventually concluded glyphosate
           manufacturers may include cancer warnings

     In August 2019, the Director of the Registration Division within

EPA’s Office of Pesticide Programs issued a letter to all glyphosate-

based product registrants in reaction to that California warning

requirement. Supp.App.11-12 (“August 2019 Letter”). The letter stated


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EPA would no longer approve labeling that warned consumers

glyphosate was a chemical known to California to cause cancer, and

that manufacturers must remove such a glyphosate-based cancer

warning. Id. The letter, just over a page, explained only that its

conclusion tracked certain international sources and EPA’s 2017 re-

registration review. See id.

     In April 2022, a higher-ranking EPA official, the Assistant

Administrator for the Office of Chemical Safety and Pollution

Prevention, wrote a letter to California regulators retracting the

prohibition asserted in the August 2019 Letter. See App.119-20

(Doc.83, Rule 28(j) submission) (“April 2022 Letter”).14 That letter

reported “EPA could approve” California’s newly proposed glyphosate-

specific warning, which referenced both the IARC’s conclusion

glyphosate is carcinogenic and EPA’s conclusion to date that it is not,

explaining such a warning “would not be considered misbranded.” Id.




     14 See EPA, Organizational Chart (Sept. 24, 2022), www.epa.gov/
aboutepa/epa-organization-chart; EPA, Organization Chart for the
Office of Chemical Safety and Pollution Prevention (OCSPP) (Nov. 1,
2022), www.epa.gov/aboutepa/organization-chart-office-chemical-safety-
and-pollution-prevention-ocspp.

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     6.    The United States has maintained before the Supreme
           Court that EPA registration decisions do not preempt
           state-law claims

     In May 2021, the Ninth Circuit in Hardeman affirmed a jury

verdict that Roundup caused Edwin Hardeman’s cancer. The court

rejected Monsanto’s preemption claim because “the EPA actions that

Monsanto alleges preempt Hardeman’s claims” – registration of

Roundup and the August 2019 Letter – “do not carry the force of law.”

Hardeman, 997 F.3d at 956.

     Monsanto sought certiorari. The Supreme Court called for the

views of the Solicitor General. The United States opposed certiorari,

arguing Hardeman was correctly decided. App.122-51 (“SG Hardeman

Br.”).15 The United States said “EPA’s approval of pesticide labeling

without a chronic-risk warning is not naturally characterized as a

FIFRA ‘requirement’ that no such warning appear,” noting that a

“requirement is a rule of law that must be obeyed.” App.138-39

(quoting Bates, 544 U.S. at 445). The Supreme Court denied certiorari.




      Brief for the United States as Amicus Curiae, Monsanto Co. v.
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Hardeman, No. 21-241 (U.S. May 10, 2022), 2022 WL 1489462.

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Monsanto Co. v. Hardeman, 142 S. Ct. 2834 (2022); see also Monsanto

Co. v. Pilliod, 142 S. Ct. 2870 (2022) (likewise denying certiorari).

     7.    The Ninth Circuit vacated EPA’s re-registration
           conclusion that glyphosate is not likely to cause
           cancer

     a. FIFRA requires that “registrations of pesticides are to be

periodically reviewed” by EPA every 15 years. § 136a(g)(1)(A). In 2009,

EPA started its re-registration review of glyphosate. EPA “decided to

conduct registration review on glyphosate, an active ingredient,” rather

than to “evaluate each pesticide registration [such as Roundup]

individually.” NRDC, 38 F.4th at 41 n.2.16

     EPA’s re-registration proceeding lasted 11 years. The proceeding

resulted in an interim, rather than a final, registration decision, which

EPA issued in January 2020. See Supp.App.386-421.17 The agency, in

its 2020 Interim Decision, “determined that there are no risks to human




     16 EPA may evaluate a “pesticide case . . . composed of 1 or more
active ingredients and the products associated with the active
ingredients,” or it may evaluate each pesticide product registration
individually. § 136a(g)(1)(A)(iii).
     17 EPA regulations “permit, but do not require, EPA to issue an
‘interim registration review decision’ prior to the registration review
decision.” NRDC, 38 F.4th at 40 (quoting 40 C.F.R. § 155.56).

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health from the current registered uses of glyphosate and that

glyphosate is not likely to be carcinogenic to humans.” Supp.App.395;

NRDC, 38 F.4th at 43.

     b. Following a challenge, the Ninth Circuit vacated the agency’s

“not likely to be carcinogenic” conclusion, finding EPA’s reasoning was

“the hallmark of arbitrary action.” NRDC, 38 F.4th at 51 (internal

quotation marks omitted). The agency’s “not likely” determination was

“in tension with parts of the agency’s own analysis and with the

guidelines it purports to follow,” and thus not supported by “substantial

evidence.” Id. at 46, 51.

     First, the court found EPA’s “choice of the ‘not likely’ descriptor”

for glyphosate “conflict[ed] with” its analysis of epidemiological studies.

Id. at 46. EPA uses the “not likely” descriptor when there are “robust”

data showing “there is no basis for human hazard concern.” Id. But

here EPA had ample reason for concern: “most studies EPA examined

indicated that human exposure to glyphosate is associated with an at

least somewhat increased risk of developing [non-Hodgkin lymphoma].”

Id. And in an earlier “Cancer Paper” the agency had concluded “the

association between glyphosate exposure and risk of [cancer] cannot be


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determined based on the available evidence.” Id. The court held EPA

could not “reasonably treat its inability to reach a conclusion about

[cancer] risk as consistent with a conclusion that glyphosate is ‘not

likely’ to cause cancer.” Id. at 47.

     Second, EPA’s “not likely” conclusion did not “withstand[] scrutiny

under the agency’s own framework.” Id. For example, EPA guidelines

describe how the agency should use historical-control data that show

how often certain tumors occur naturally in animals. That data can

either “bolster” or “undermine” study results: if a study uncovers rare

tumors, then “the result is in fact unlikely to be due to chance,” while a

study that turns up only common tumors is of “reduce[d] . . .

importance.” Id. at 47-48. But for glyphosate “EPA use[d] this type of

data only to discount studies indicating that glyphosate may cause

tumors.” Id. at 48 (emphasis added). This one-way ratchet drew

criticism from an EPA scientific panel because it would “potentially

introduce biases.” Id. Rather than address those concerns, “the agency

did not change the way in which it factored those data into its analysis.”

Id. This and other issues, see, e.g., id. at 49 (“disregard of tumor results




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occurring at high dosages”), rendered the “analysis underpinning EPA’s

‘not likely’ descriptor . . . flawed.” Id. at 47.

C.    Procedural History

      1. Appellant Dr. John D. Carson, Sr., a Georgia resident,

routinely applied Roundup to his lawn for approximately thirty years.

App.27 (¶ 60). In 2016, he was diagnosed with malignant fibrous

histiocytoma. App.27 (¶ 61). He believes his long-term exposure to

Roundup caused his cancer. App.27 (¶ 62).

      Carson sued Monsanto in December 2017. App.12-43 (Complaint).

He alleged strict liability for failure to warn under Georgia law, among

other claims not relevant here. App.31-36 (Count II). Monsanto moved

for judgment on the pleadings, and the district court held that FIFRA

expressly preempted Carson’s failure-to-warn claim because EPA had

classified glyphosate as not likely to be carcinogenic to humans.

App.95-96; see App.89-104 (Order).

      The district court reasoned that “a warning on Roundup® that

glyphosate causes cancer would be in direct conflict with the EPA’s

approved label because the EPA classifies glyphosate as ‘not likely to be

carcinogenic to humans’ and considers glyphosate products with cancer


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warnings to be ‘misbranded,’” citing the August 2019 Letter targeting

the California warning. App.95-96. The court did not have the benefit

of the April 2022 Letter, which walked back the August 2019 Letter; the

United States’ May 2022 brief in Hardeman, which rejected Monsanto’s

preemption arguments; or the Ninth Circuit’s June 2022 decision in

NRDC v. EPA, which vacated EPA’s “not likely” conclusion.

     2. The parties reached a “high-low settlement” under which Dr.

Carson will receive a greater settlement payment if he prevails on

appeal. App.116. Dr. Carson timely appealed. See Supp.App.434;

App.108-09. A panel of this Court reversed the district court’s

preemption holding, Docs.91-93, and Monsanto petitioned for rehearing

en banc, Doc.94. In response, the panel vacated its July 12 opinion and

replaced it with a revised opinion. Doc.104 (“Op.”).

     3. The revised panel opinion maintained its original conclusion

that Carson’s failure-to-warn claim is not preempted. Starting from

FIFRA’s text, the panel articulated three statutory rules.

     First, a pesticide “can . . . be misbranded if the label does not

‘contain directions for use’ or ‘a warning or caution statement’ that is




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‘adequate to protect health and the environment.’” Op.5 (quoting

§ 136(q)(1)(F), (G)).

      Second, “even with EPA oversight at the initial registration

process, pesticide manufacturers have a perpetual duty to adhere to

FIFRA’s labeling requirements and to report any new adverse effects to

the EPA.” Op.5-6 (footnote omitted) (citing §§ 136j(a)(1)(E); 136a(f)(1);

136d(a)(2); 40 C.F.R. § 159.184)).

      Third, FIFRA accounts for the possibility “EPA might just miss a

misbranded label in the registration process . . . by explaining that ‘[i]n

no event shall registration of an article be construed as a defense for the

commission of any offense under [FIFRA].’” Op.6 (quoting § 136a(f)(2))

(alteration in original).

      Examining Carson’s claim against FIFRA, the panel said “the

Georgia failure to warn claim simply enforces the FIFRA cause of

action, so it is not expressly preempted.” Op.9 (citing Bates, 544 U.S. at

447-48).

      The panel next concluded EPA’s “registration process” lacked the

“force of law” because “it doesn’t amount to a sufficiently formal

proceeding . . . since it at most creates a rebuttable presumption of


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compliance with FIFRA’s registration process and nothing more.”

Op.10-11. It did not discuss the Ninth Circuit’s June 2022 vacatur of

EPA’s “not likely to be carcinogenic to humans” conclusion.

     Finally, the panel turned to “various EPA documents” cited by

Monsanto, including the August 2019 Letter, concluding those

documents likewise lacked the requisite “indicia of formality” to be

preemptive. Op.11-13. It did not discuss the April 2022 Letter that

retracted the August 2019 Letter.

     The panel also rejected Monsanto’s impossibility preemption claim

for similar reasons. Op.11 n.11 (“Because . . . we have already

determined that the EPA has not acted with the force of law and that

FIFRA statutes are consistent with Georgia law, we do not address this

argument further.”) (citing Merck Sharp & Dohme Corp. v. Albrecht,

139 S. Ct. 1668, 1678-79 (2019)).

     4. Monsanto again sought rehearing en banc, which this Court

granted, vacating the revised panel opinion. Doc.113-2. The Court

ordered the parties to focus on two issues about when agency action has

the “force of law” in the context of the term “requirements” as used in

FIFRA’s express preemption provision, § 136v(b). Doc.115.


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                        SUMMARY OF ARGUMENT

     This case presents the same issue that multiple appeals courts

already have decided: Does FIFRA preempt state failure-to-warn

claims involving Roundup? The answer is “no,” as all those courts held.

Neither express nor implied preemption apply.

     I. FIFRA provides a decentralized regulatory scheme for

pesticides that leaves a broad role for States. States can, for example,

ban pesticides that EPA has approved. The only limitation on state

authority is a preemption provision that prohibits state labeling

requirements “in addition to or different from” the “requirements under

[FIFRA].” § 136v(b). In Bates v. Dow AgroSciences LLC, 544 U.S. 431

(2005), the Supreme Court held that “narrow” preemption provision did

not cover state-law failure-to-warn claims that align with FIFRA’s

misbranding requirements. Carson’s Georgia-law claim parallels those

requirements by requiring health and safety warnings in narrower

circumstances than FIFRA already does. So as the panel correctly

concluded, Carson’s claim is not preempted.

     This Court asked how to identify a labeling “requirement” under

FIFRA. The statutory text – particularly the misbranding provisions –


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detail the labeling requirements. EPA can add to those requirements

by refining FIFRA’s misbranding provisions through notice-and-

comment rulemaking. It has not done so.

     Next, the Court asked if it must determine as a threshold question

for preemption whether the agency action had force of law. The answer

is “yes.” Only agency actions with force of law have preemptive power,

and only agency actions taken under congressionally delegated

authority have force of law. For the same reasons, § 136v(b) cannot give

preemptive effect to agency actions that lack force of law. Bates held

that a federal “requirement” is a rule of law that must be obeyed, and

only agency actions with force of law meet that description.

     Monsanto’s express-preemption arguments lack merit for several

reasons. The company focuses on EPA’s conclusion that glyphosate is

“not likely to be carcinogenic” during its interim registration process.

First, the Ninth Circuit vacated the “not likely” decision, which

therefore has no legal effect. Second, FIFRA makes clear pesticide

registration is not preemptive. Under the statute, registration is not a

defense to misbranding, and a registered label can still be misbranded.

So state-law claims that, like Carson’s, functionally enforce the


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statutory misbranding provisions are not misbranded. Third, EPA

never has assessed the health risks of a glyphosate-based formulation

like Roundup. EPA’s registration of glyphosate therefore is not a

labeling “requirement” that preempts Roundup claims.

     II. Nor is there any basis for implied (impossibility) preemption.

Because FIFRA has an express-preemption provision, there is no room

for implied preemption, as Justice Thomas recognized in Bates. And

even if implied preemption could apply, it does not here. To support

implied preemption, Monsanto had to present clear evidence that EPA

would reject whatever warning Carson’s claim requires. No such

evidence exists. Instead, a higher-ranking EPA official has said the

agency would accept cancer warnings on products containing

glyphosate. And EPA’s interim conclusion that glyphosate is not likely

to cause cancer has been vacated by the Ninth Circuit and remanded for

notice and comment. There is no preemption.

                        STANDARD OF REVIEW

     “Judgment on the pleadings is proper when . . . the movant is

entitled to judgment as a matter of law.” Ortega v. Christian, 85 F.3d

1521, 1524 (11th Cir. 1996). Whether a plaintiff’s “state law claims are


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preempted by . . . federal law is reviewed by this Court de novo.” Irving

v. Mazda Motor Corp., 136 F.3d 764, 767 (11th Cir. 1998). Likewise, the

Court reviews de novo a district court grant of judgment on the

pleadings, “accepting the facts in the complaint as true and viewing

them in the light most favorable to the nonmoving party.” Horsley v.

Feldt, 304 F.3d 1125, 1131 (11th Cir. 2002).

                                ARGUMENT

I.   Carson’s Failure-To-Warn Claim Is Not Expressly
     Preempted

     A.    FIFRA Does Not Expressly Preempt State-Law Claims
           That Parallel The Statute’s Misbranding Provisions

     1. FIFRA “authorizes a relatively decentralized scheme that

preserves a broad role for state regulation.” Bates v. Dow AgroSciences

LLC, 544 U.S. 431, 450 (2005). Indeed, States may ban a federally

registered pesticide, even if EPA does not consider it misbranded. Id. at

446 (citing § 136v(a)).

     The only statutory limit on state authority is a “narrow”

preemption provision, id. at 452, which “prohibits only state-law

labeling and packaging requirements that are ‘in addition to or different

from’ the labeling and packaging requirements under FIFRA,” id. at



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447 (quoting § 136v(b)). FIFRA’s express preemption or “Uniformity”

provision thus provides:

      (a) In general

      A State may regulate the sale or use of any federally
      registered pesticide or device in the State, but only if and
      to the extent the regulation does not permit any sale or
      use prohibited by this subchapter.

      (b) Uniformity

      Such State shall not impose or continue in effect any
      requirements for labeling or packaging in addition to or
      different from those required under this subchapter.

§ 136v(a)-(b).

      2. “The proper inquiry” when determining whether FIFRA

preempts a common-law claim “calls for an examination of the elements

of the common-law duty at issue.” Bates, 544 U.S. at 445. Even when a

state-law claim addresses pesticide labeling, it is preempted only if it

imposes requirements “in addition to or different from those required

under [FIFRA].” § 136v(b). In Bates, the Supreme Court held that

common-law duties are not preempted if they are “equivalent to, and

fully consistent with, FIFRA’s misbranding provisions.” 544 U.S. at

447; see id. at 454 (“[A] manufacturer should not be held liable under a

state labeling requirement subject to § 136v(b) unless the manufacturer


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is also liable for misbranding as defined by FIFRA.”). In other words,

FIFRA does not preempt state-law claims that impose “parallel

requirements” to those in FIFRA. Id. at 447.

      A state-law failure-to-warn claim merely provides a remedy for a

manufacturer’s failure to fulfill its duty to label its product for safe use.

Although FIFRA itself “does not provide a federal remedy to [those] who

are injured as a result of a manufacturer’s violation of FIFRA’s labeling

requirements, nothing in § 136v(b) precludes States from providing such

a remedy.” Id. at 448. There is, of course, a “long history of tort

litigation against manufacturers of poisonous substances.” Id. at 450-

51. Given this history, the Supreme Court has observed that “[p]rivate

remedies that enforce federal misbranding requirements would seem to

aid, rather than hinder, the functioning of FIFRA.” Id. at 451.

      B.    Carson’s Failure-To-Warn Claim Parallels FIFRA’s
            Misbranding Provisions So It Is Not Preempted

      Carson’s failure-to-warn claim under Georgia law imposes the

same or narrower requirements as FIFRA’s misbranding provisions. So

as the panel correctly concluded, Carson’s claim is not preempted.

      First, Carson would have to prove at trial that Monsanto “fail[ed]

to exercise reasonable care to inform [him] of [Roundup’s] dangerous

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condition[,] or of the facts which make it likely to be dangerous.” Op.8-9

(quoting Greenway v. Peabody Int’l Corp., 294 S.E.2d 541, 545-46 (Ga.

Ct. App. 1982) (quoting, in turn, Restatement (Second) of Torts § 388

(Am. L. Inst. 1965, Oct. 2022 Update)). That common-law duty tracks

§ 136(q)(1)(G), which requires a warning “necessary” and “adequate to

protect health.”

     Second, Carson’s claim would require warnings in narrower

circumstances than FIFRA does. FIFRA requires adequate safety

warnings no matter whether the manufacturer knows of the risks and

“regardless of the knowledge of the consumer.” Op.9; see § 136(q)(1)(G).

Georgia law, by contrast, requires a warning only if Monsanto “knows

or has reason to know that [Roundup] is or is likely to be dangerous for

the use for which it [wa]s supplied.” Op.8-9. And Georgia law requires

a warning only if consumers “who will be using the product do not

realize the dangerous condition of the product.” Op.9. The panel

therefore correctly concluded that “the Georgia law failure to warn

claim, if anything, imposes less of a duty on Monsanto than the FIFRA

statute.” Id.; see Hardeman v. Monsanto Co., 997 F.3d 941, 955 (9th




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Cir. 2021) (finding no preemption because FIFRA “is broader than

California’s requirement under negligence”).18

     Because Carson’s failure-to-warn claim parallels FIFRA’s

misbranding provisions, it effectively enforces the statutory

misbranding prohibition. “[A] state cause of action that seeks to

enforce” those misbranding provisions “does not impose a requirement

that is ‘different from, or in addition to,’ requirements under federal

law,” and so is not preempted. Bates, 544 U.S. at 447-48 (quoting Lohr,

518 U.S. at 513 (O’Connor, J., concurring in part and dissenting in

part)). The panel was correct.

     C.    Only Agency Actions Taken Under Delegated
           Authority Can Preempt Under FIFRA

     This Court asked how “a reviewing court” should “identify the

federal ‘requirements . . . under this subchapter’ to which § 136v(b)

refers.” Doc.115. The search for a FIFRA requirement begins with the



     18 FIFRA does not preempt narrower state-law requirements.
“While such a narrower requirement might be ‘different from’ the
federal rules in a literal sense, such a difference would surely provide a
strange reason for finding pre-emption of a state rule insofar as it
duplicates the federal rule.” Bates, 544 U.S. at 447 n.23 (quoting
Medtronic, Inc. v. Lohr, 518 U.S. 470, 495 (1996) (interpreting 21 U.S.C.
§ 360k(a)(1), which uses language similar to § 136v(b))).

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statute’s text – specifically, the statute’s misbranding provisions. Bates,

544 U.S. at 447. Those provisions require, for example, that a pesticide

label not contain “false or misleading” statements. § 136(q)(1)(A). If a

state-law cause of action “adds some supplemental requirement of

truthfulness” to that requirement, it “imposes a labeling requirement

‘in addition to or different from’ FIFRA’s” and is therefore preempted.

Bates, 544 U.S. at 456 (Thomas, J., concurring in the judgment in part

and dissenting in part).

     Only agency actions taken under delegated authority can

supplement FIFRA’s statutory requirements. In Bates, the Supreme

Court described how EPA could preempt state-law failure to warn

claims: through notice-and-comment rulemaking. The Court there

wrote that, if EPA promulgates “regulations that refine or elaborate

upon FIFRA’s broadly phrased misbranding standards . . . in the future,

they will necessarily affect the scope of pre-emption under § 136v(b).”

544 U.S. at 453 n.28. The agency has not done so here. As the United

States has advised the Supreme Court: “Neither FIFRA nor its

implementing regulations . . . specifically address warnings for chronic

health risks like carcinogenicity.” SG Hardeman Br. 10.


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     This Court next asked whether “a reviewing court” must

“determine, as a threshold matter, whether federal agency action has

the ‘force of law.’” Doc.115. The answer is “yes.” As the Supreme

Court held in Merck Sharp & Dohme Corp. v. Albrecht, 139 S. Ct. 1668

(2019), preemption can occur “only when and if the agency is acting

within the scope of its congressionally delegated authority, for an

agency literally has no power to act, let alone pre-empt the validly

enacted legislation of a sovereign State, unless and until Congress

confers power upon it.” Id. at 1679 (cleaned up).

     A reviewing court must therefore look first to FIFRA’s text to see

whether EPA action purporting to impose a preemptive requirement

was done under authority delegated by Congress. “Agencies have only

those powers given to them by Congress, and enabling legislation is

generally not an open book to which the agency may add pages and

change the plot line.” West Virginia v. EPA, 142 S. Ct. 2587, 2609

(2022) (cleaned up). “The Supremacy Clause thus requires that pre-

emptive effect be given only to those federal standards and policies that

are set forth in, or necessarily follow from, the statutory text.” Wyeth v.




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Levine, 555 U.S. 555, 586 (2009) (Thomas, J., concurring in the

judgment).

     Last, this Court asked whether an “express-preemption provision

like § 136v(b)” can “give preemptive effect to a federal agency action

that otherwise lacks the ‘force of law.’” Doc.115. The answer is “no.” A

prerequisite to application of the Supremacy Clause is that the

allegedly preemptive federal action be “Law.” U.S. Const. art. VI, cl. 2.

Yet FIFRA leaves plenty of scope for state law to operate. Section

136v(a) provides that “[a] State may regulate the sale or use of any

federally registered pesticide or device in the State,” and § 136v(b) only

preempts state-labeling requirements “in addition to or different from

those required under [FIFRA].” § 136v(a)-(b). So for there to be

preemption, there first must be a “requirement” under FIFRA. As

Bates made clear in interpreting § 136v(b): “A requirement is a rule of

law that must be obeyed.” 544 U.S. at 445. If an agency action

“otherwise lacks the ‘force of law’” as the question posits, then it is not

“a rule of law that must be obeyed.” An agency action that lacks the

force of law therefore cannot preempt under § 136v(b).




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     D.    Monsanto Identifies No Preemptive Action By EPA

     In its petition, and before the panel, Monsanto raised the same

express-preemption arguments that it has raised in Hardeman, Pilliod,

and myriad other cases. Not one appellate judge – let alone panel – has

accepted those arguments. Repetition has not made the arguments any

less “incorrect.” SG Hardeman Br. 6-7.

           1.    EPA’s conclusion that glyphosate is “not likely to
                 be carcinogenic” lacks any arguable force of law

     Monsanto’s cornerstone argument is that EPA’s decision to

register a pesticide and approve its label imposes a preemptive

“requirement” under FIFRA. See Doc.107 at 8-18 (“Pet.”). That

argument always lacked merit, see infra pp.42-51, but it is even less

persuasive now that the Ninth Circuit has vacated the reasoning EPA

used when registering glyphosate.

     a. After an 11-year re-registration process that began in 2009,

EPA failed to sustain its conclusion that glyphosate was not likely to

cause cancer. The Ninth Circuit held EPA lacked substantial evidence

for that conclusion and that its reasoning to get there in its 2020

Interim Decision was “the hallmark of arbitrary action.” NRDC v. EPA,

38 F.4th 34, 51 (9th Cir. 2022) (internal quotation marks omitted).

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     EPA’s determination was “in tension with parts of the agency’s

own analysis and with the [EPA Cancer] guidelines it purports to

follow.” Id. at 46. In sum, the court held EPA could not “reasonably

treat its inability to reach a conclusion about [cancer] risk as consistent

with a conclusion that glyphosate is ‘not likely’ to cause cancer.” Id. at

47 (emphases added); see supra pp.20-21.

     Because of EPA’s inconsistent and faulty reasoning, its conclusion

that glyphosate is “not likely” carcinogenic flunked substantial-evidence

review. The Ninth Circuit thus “vacate[d]” “and remand[ed] for further

analysis and explanation . . . including a new public-comment process.”

NRDC, 38 F.4th at 52 & n.14. The court “decline[d] to rule on any effect

this vacatur might have on glyphosate’s registration,” including the

possibility on remand of “deregistration” of formulated glyphosate

products. Id. at 52 & n.13.19

     b. Though glyphosate remains registered, whatever preemptive

effect registration might have had has been nullified. Put differently,

EPA’s interim registration decision lacks force of law and cannot


     19 EPA did not seek rehearing or review by the Supreme Court,
and the court’s mandate issued. See NRDC v. EPA, No. 20-70787, Dkt.
143 (9th Cir. Aug. 24, 2022).

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preempt Carson’s claims. An agency decision that has been vacated has

no legal effect. “In essence, a vacatur order takes the unlawful agency

action off the books, which is an entirely appropriate response when a

plaintiff successfully establishes that the agency’s conduct violates the

law.” Kiakombua v. Wolf, 498 F. Supp. 3d 1, 50 (D.D.C. 2020) (Jackson,

J.) (cleaned up).20

      In its petition, Monsanto relegates the Ninth Circuit’s vacatur of

EPA’s “not likely” conclusion to a cryptic footnote, claiming the court

“explain[ed] that its decision ‘maintained the status quo.’” Pet. 6 n.2

(quoting NRDC, 38 F.4th at 52). That mischaracterization leaves the

false impression that EPA’s “not likely” conclusion was left unaffected

by the court’s vacatur.21 In fact, the court of appeals “vacate[d] the

human-health portion of EPA’s Interim Decision” – that is, the




      20 See 5 U.S.C. § 706 (Administrative Procedure Act: a “reviewing
court” may “hold unlawful and set aside agency action, findings, and
conclusions”); Black’s Law Dictionary (11th ed. 2019) (vacatur means
the “act of annulling or setting aside”); NRDC, 38 F.4th at 51 (“[v]acatur
is the traditional remedy for erroneous administrative decisions”).
      21Carson could have corrected this misimpression in a response to
Monsanto’s petition, but this Court’s rules provide that a “response to a
petition for en banc consideration may not be filed unless requested by
the court.” 11th Cir. R. 35-6.

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conclusion that glyphosate is not likely carcinogenic – “and remand[ed]

for further analysis and explanation.” NRDC, 38 F.4th at 52. When

deciding whether to order vacatur, the court merely noted that “no

disruptive consequences will result from vacating the human-health

portion of the Interim Decision because that portion simply maintained

the status quo – the Interim Decision imposed no new mitigation

measures associated with human health.” Id. And though the court

declined to “order deregistration” because it would be a “highly

disruptive remedy,” it explained that for EPA to reach the same “not

likely” conclusion on remand its “explanation would need to be so

different that we cannot make a confident prediction” whether the

attempt would be lawful. Id. at 52 & nn.13-14.

     c. After the Ninth Circuit’s vacatur, EPA withdrew the interim

decision. See EPA, EPA Withdraws Glyphosate Interim Decision (Sept.

23, 2022).22 Even so, Monsanto cites EPA’s statement that its

“underlying scientific findings regarding glyphosate, including its

finding that glyphosate is not likely to be carcinogenic in humans,



     22 www.epa.gov/pesticides/epa-withdraws-glyphosate-interim-
decision.

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remains the same.” Id.; Pet.6 n.2. That bare (and incorrect) statement

has no legal effect, much less a preemptive one. As the NRDC court

held, and “EPA did not dispute,” “vacatur of the human-health portion

will require the agency to conduct a new public-comment process.” 38

F.4th at 52 n.14 (citing 40 C.F.R. §§ 155.56, 155.58(a)).

     More generally, an agency may not rely on a vacated rationale in

taking any later action. Vacated actions are a nullity, with no legal

effect. See Kiakombua, 498 F. Supp. 3d at 50. The D.C. Circuit

therefore has explained that “[a]n agency cannot remedy a deficiency in

one regulation by promulgating a new rule, equally defective for the

same . . . reasons.” Action on Smoking & Health v. Civil Aeronautics

Bd., 713 F.2d 795, 798-99 (D.C. Cir. 1983) (per curiam). And that court

has vacated an agency order because it “relied not only on [an already

vacated order] but also on its defective reasoning.” WorldCom, Inc. v.

FCC, 246 F.3d 690, 696 (D.C. Cir. 2001); see also Azar v. Allina Health

Servs., 139 S. Ct. 1804, 1810 (2019) (explaining that an agency in

promulgating a new rule “couldn’t rely on the [prior] rule, which had

been vacated”); Hawaii Longline Ass’n v. National Marine Fisheries

Serv., 281 F. Supp. 2d 1, 26 (D.D.C. 2003) (“reliance on a vacated


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[biological opinion] . . . is by definition arbitrary and capricious” and

“provides [no] legal basis for the . . . Regulations”).

      If an agency may not rely on a vacated conclusion at all, then of

course a vacated conclusion cannot preempt. See supra pp.33-36.

            2.    Congress did not delegate to EPA the authority
                  to preempt through registration of a pesticide

      a. Even if EPA’s “not likely” conclusion had not been vacated, its

decision to register a pesticide does not immunize the manufacturer

from tort liability. Registration is not even the last word on whether

the pesticide’s labeling is misbranded. The agency determines whether

a pesticide’s warnings are “necessary” and “adequate to protect [public]

health” based on material the manufacturer submits. § 136(q)(1)(G); see

§ 136a(c)(2), (c)(5)(B)-(D). If other information, like an “incident[]

involving a pesticide’s toxic effects” shows the labeling to be

misbranded, Bates, 544 U.S. at 439, EPA’s prior registration decision

offers a manufacturer no safe harbor: “EPA may institute cancellation

proceedings and take other enforcement action if it determines that a

registered pesticide is misbranded.” Id. (citation omitted).

      A manufacturer cannot use EPA’s registration of its pesticide “as a

defense for the commission of any offense under [FIFRA],” including the

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misbranding offense. § 136a(f)(2). Rather, registration is only “prima

facie evidence” that the pesticide is not misbranded. Id.23 As a result,

even if EPA approved a label, “a judge or jury” could “find that [the]

same label violates FIFRA.” Hardeman, 997 F.3d at 956.

     That is why Bates recognized a pesticide can be “registered but

nevertheless misbranded.” 544 U.S. at 438. “Against that backdrop,”

the United States has explained, “EPA’s approval of pesticide labeling

without a chronic-risk warning is not naturally characterized as a

FIFRA ‘requirement’ that no such warning appear.” SG Hardeman Br.

11-12.

     If a pesticide is “registered but nevertheless misbranded,” the

manufacturer has a duty to update its label. Id. at 2. FIFRA does not

authorize, much less require, a manufacturer to retain the label of a



     23   Section 136a(f)(2) provides in full:
             (2) Registration not a defense
             In no event shall registration of an article be
             construed as a defense for the commission of any
             offense under this subchapter. As long as no
             cancellation proceedings are in effect registration
             of a pesticide shall be prima facie evidence that the
             pesticide, its labeling and packaging comply with
             the registration provisions of the subchapter.

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misbranded pesticide just because EPA registered the pesticide.

Indeed, retaining a registered but misbranded label is not a

“requirement” of FIFRA – it is a violation. And registration does not

establish any relevant “requirement” that might supersede a duty

under state law. For this reason – and because EPA’s registration of

glyphosate did not assess the health risks of glyphosate-based

formulations like Roundup – EPA’s registration of glyphosate does not

preempt Carson’s claims. See Hardeman, 997 F.3d at 956 (“[B]ecause

EPA’s labeling determinations are not dispositive of FIFRA compliance,

they similarly are not conclusive as to which common law requirements

are ‘in addition to or different from’ the requirements imposed by

FIFRA.”); Indian Brand Farms, Inc. v. Novartis Crop Prot., 617 F.3d

207, 222 (2010) (similar).24

     b. Monsanto contends § 136a(f)(2) “has ‘no bearing on’”

preemption because it “stands for the unremarkable proposition that a

registration is not a defense against an allegation that a product


     24 See also Blitz v. Monsanto Co., 317 F. Supp. 3d 1042, 1050 (W.D.
Wis. 2018) (EPA registration and label approval are not requirements
that can preempt failure-to-warn claims); Carias v. Monsanto Co., 2016
WL 6803780, at *2 (E.D.N.Y.) (same); Hernandez v. Monsanto Co., 2016
WL 6822311, at *7 (C.D. Cal.) (same).

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violates the terms of that registration.” Pet.11-12 (quoting MacDonald

v. Monsanto Co., 27 F.3d 1021, 1025 n.4 (5th Cir. 1994), and Reckitt

Benckiser, Inc. v. Jackson, 762 F. Supp. 2d 34, 45 (D.D.C. 2011)). But

that narrow reading of the provision does not track its text, which

establishes that registration is not a defense to “any offense” under

FIFRA, not just violations of the terms of registration. § 136a(f)(2).

     As the panel properly concluded, “Congress itself undermined the

formality of EPA registration when it explained that EPA registration

served only as prima facie evidence of compliance with the registration

requirements of FIFRA.” Op.10 (citing § 136a(f)(2)). “It would defy

logic to say a rebuttable presumption carries the force of law necessary

to have preemptive effect, as doing so would deny any ability to rebut

the presumption.” Hardeman, 997 F.3d at 957.

     Monsanto claims MacDonald, in which a pre-Bates panel of the

Fifth Circuit adopted its view of § 136a(f)(2), splits with Hardeman.

Pet.11. But MacDonald, decided 11 years before Bates, is no longer

good law. It was abrogated by Bates, as the Third Circuit recognized in

Indian Brand Farms, 617 F.3d at 221-22 (“Bates introduced a different

analysis of FIFRA preemption, one that compels us to depart from this


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pre-Bates precedent.”). Monsanto cannot manufacture a circuit split

with an abrogated decision.

     c. Section 136a(f)(2) also shows why Monsanto cannot rely on

Riegel v. Medtronic, Inc., 552 U.S. 312 (2008). See Pet.9-12. In Riegel,

the Court held that FDA’s premarket medical-device approval imposes

“requirements” under the preemption clause of a Medical Device statute

and preempts state failure-to-warn claims based on inconsistent duties.

See 552 U.S. at 322-23, 327-30. The Court said FDA’s premarket

approval of the riskiest medical devices serves as conclusive evidence

that “the approved form [of the devices] provides a reasonable

assurance of safety and effectiveness.” Id. at 323.

     In contrast, FIFRA provides that registration is only “prima facie

evidence” of compliance, § 136a(f)(2), not proof the labeling is “adequate

to protect health,” § 136(q)(1)(F), (G). And because a manufacturer with

a registered product still could be liable for misbranding, it could be

liable for state-law claims (like Carson’s failure-to-warn claim) “that are

fully consistent with federal requirements.” Bates, 544 U.S. at 452.

     More generally, the statutory schemes in Riegel and here are

meaningfully different. The Medical Device Amendments “swept back


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some state obligations and imposed a regime of detailed federal

oversight,” Riegel, 552 U.S. at 316, while FIFRA “authorizes a relatively

decentralized scheme” that leaves States with broad power to regulate

pesticide products – including the power to ban the sale of unsafe, but

registered, pesticides, Bates, 544 U.S. at 450 (citing § 136v(a)). Thus,

“different federal statutes and regulations may . . . lead to different pre-

emption results.” PLIVA, Inc. v. Mensing, 564 U.S. 604, 626 (2011).

     For medical devices, “premarket approval is specific to individual

devices,” requiring FDA to determine the device “offers a reasonable

assurance of safety and effectiveness.” Riegel, 552 U.S. at 322-23. By

contrast, FIFRA’s misbranding provisions impose only “general

standards.” Bates, 544 U.S. at 453 n.27; see Lohr, 518 U.S. at 501 (no

preemption when federal requirements “reflect[ed] important but

entirely generic concerns about device regulation generally”). And EPA

has acknowledged that it has not specifically evaluated glyphosate

“formulations” like Roundup. See supra pp.13-15; Hardeman, 997 F.3d

at 952 (“EPA explained that ‘there are few research projects that have

attempted to directly compare technical grade glyphosate to the

formulations under the same experimental design,’ but ‘[i]f at any time,


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information becomes available that indicates adverse human health

effects of concern for exposure to glyphosate or its formulations, EPA

intends to review it and determine the appropriate regulatory action.’”)

(citation omitted).

     d. Monsanto’s reliance on Merck, which did not even implicate

express preemption, likewise fails. See Pet.12-14. That case followed

Wyeth v. Levine, in which the Court rejected implied (or impossibility)

preemption from FDA’s approval of a drug label. See Merck, 139 S. Ct.

at 1676-78 (discussing Wyeth). The Court explained that – similar to

FIFRA here – “it has remained a central premise of federal drug

regulation that the manufacturer bears responsibility for the content of

its label at all times,” and “when the risks of a particular drug become

apparent, the manufacturer has ‘a duty to provide a warning that

adequately describes that risk.’” Id. at 1677 (quoting Wyeth, 555 U.S.

at 570-71) (alteration omitted). FDA regulations allowed drug

manufacturers to change a label without prior FDA approval, and for

implied or impossibility preemption the Court required “clear evidence”

FDA would have rejected such a change. Id. at 1678 (emphasis omitted)

(quoting Wyeth, 555 U.S. at 571).


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     Here, Monsanto invokes an FDA regulation that allows that

agency to reject a label change, contending such “process is not

specifically provided for by statute, leaves no trace in the Federal

Register, and is not subject to comment,” and asserting “FIFRA’s

registration process is indisputably more formal.” Pet.14. But that

FDA regulation was promulgated through notice-and-comment

rulemaking, and here Monsanto never sought a label change that the

agency could reject, nor has it provided “clear evidence” EPA would

have rejected a cancer warning for Roundup notwithstanding the

agency’s (now-vacated) conclusion based on the record before it that

glyphosate is “not likely” carcinogenic. As Hardeman explained,

Monsanto’s argument that EPA’s re-registration of Roundup happened

“in the context of a registration process that has the hallmarks of

formal agency action” fails because § 136a(f)(2) provides that such

registration is no defense to misbranding. 997 F.3d at 957 (cleaned up).

     Similarly, the (now retracted) August 2019 Letter from a

subordinate EPA official “did not follow any ‘formal administrative

procedure’ that would give the letter the force of law.” Id. Such

informal assertions from a subordinate agency official are comparable to


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interpretive rules or general statements of policy that “do not have the

force and effect of law.” Perez v. Mortgage Bankers Ass’n, 575 U.S. 92,

97 (2015).25 Nor does Monsanto point to any statutory authority giving

a subordinate EPA official lone authority to accept or reject a label

under FIFRA. Cf. Merck, 139 S. Ct. at 1683 (Thomas, J., concurring)

(“complete response letters” issued under FDA’s label-change regulation

provide “no implication as to the ultimate approvability of the

application”) (emphasis omitted) (quoting 73 Fed. Reg. 39588 (July 10,

2008)).

     In any event, the August 2019 Letter was retracted by a higher

EPA official in the April 2022 Letter, and EPA’s “not likely” conclusion




     25  “The absence of a notice-and-comment obligation makes the
process of issuing interpretive rules comparatively easier for agencies
than issuing legislative rules. But that convenience comes at a price:
Interpretive rules do not have the force and effect of law and are not
accorded that weight in the adjudicatory process.” Perez, 575 U.S. at 97
(internal quotation marks omitted); see also Christensen v. Harris Cnty.,
529 U.S. 576, 587 (2000) (“Interpretations such as those in opinion
letters – like interpretations contained in policy statements, agency
manuals, and enforcement guidelines . . . lack the force of law.”); United
States v. Mead Corp., 533 U.S. 218, 234 (2001) (“interpretations
contained in policy statements, agency manuals, and enforcement
guidelines . . . are beyond the Chevron pale”) (internal quotation marks
omitted).

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in the 2020 Interim Decision was vacated by the Ninth Circuit. Neither

has any effect.

           3.     Monsanto’s remaining express-preemption
                  arguments lack merit

     a. Monsanto unpersuasively invokes Bates, focusing on an

example from that decision about a failure-to-warn claim requiring the

word “DANGER” rather than “CAUTION.” Pet.9. The example

undermines Monsanto’s arguments. EPA, by regulation, “establishe[d]

four Toxicity Categories for acute hazards of pesticide products,”

40 C.F.R. § 156.62, and then mandated toxicity warnings for qualifying

pesticides, id. § 156.64. So when a state-law failure-to-warn claim

requires “DANGER” when EPA’s regulation requires “CAUTION,” of

course there is preemption: That is a “requirement[] for labeling” that

is “different from” what EPA’s regulation would “require[].” § 136v(b).

There is no such regulation governing warning language for Roundup

labels. If EPA believes as a policy matter that failure-to-warn claims

involving glyphosate-based products should be barred, it can

promulgate a regulation (subject to judicial review). It has not done so.

     Monsanto’s only countervailing point is that FIFRA’s preemption

provision seeks to promote uniformity, and the panel’s decision could

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permit States to reach different conclusions about particular warnings.

Pet.15-16.

     b. Last, Monsanto suggests that the panel’s approach to FIFRA

preemption will “reverberate” to other statutes that use similar express-

preemption language. Pet.17. This argument is incorrect because what

matters is not the “in addition to or different from” language, but the

statutory schemes on which that language piggybacks.

     For example, Monsanto refers to the Federal Meat Inspection Act.

Id. That Act “establishes an elaborate system of inspecting live animals

and carcasses,” and “[o]ver the years, the [Department of Agriculture’s

Food Safety and Inspection Service] has issued extensive regulations”

fleshing out that system. National Meat Ass’n v. Harris, 565 U.S. 452,

455-56 (2012) (cleaned up). Because that Act and its accompanying

regulations impose many requirements, its preemption provision

necessarily “sweeps widely” when blocking applications of additional or

different state requirements. Id. at 459-60. Here, by contrast, EPA has

promulgated “relatively few regulations,” so FIFRA’s preemption

provision is “narrow.” Bates, 544 U.S. at 452, 453 n.28.




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     E.    Monsanto’s 49-Year History Of Failing To Test
           Whether Long-Term Use Of Roundup Causes Cancer
           Further Counsels Against Preemption

     1. Monsanto’s position would have substantial negative effects. It

would appear to bar all failure-to-warn claims based on a pesticide’s

“labeling” other than claims about the pesticide’s efficacy. See Pet.12

n.3. But as Bates observed, “it seems unlikely that Congress considered

a relatively obscure provision like § 136v(b) to give pesticide

manufacturers virtual immunity from certain forms of tort liability.”

544 U.S. at 450.

     That immunity also would hinder the functioning of FIFRA:

state-tort actions “may aid in the exposure of new dangers associated

with pesticides,” giving manufacturers “added dynamic incentives to

continue to keep abreast of all possible injuries stemming from use of

their product so as to forestall such actions through product

improvement.” Id. at 451 (internal quotation marks omitted). Just so

with Carson, who used Roundup products on his lawn for thirty years.

His extended exposure, and that of thousands of others, can help inform

EPA about the long-term effects of glyphosate-based products like




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Roundup and aid the agency in carrying out “its task of assessing the

environmental and health dangers posed by pesticides.” Id. at 440.

     2. Monsanto’s only policy point is that FIFRA’s preemption

provision seeks to promote uniformity, and finding no preemption could

permit States to reach different conclusions about particular warnings.

But the company again overlooks Bates, which cautioned against

“overstat[ing] the degree of uniformity and centralization that

characterizes FIFRA,” observing “the statute authorizes a relatively

decentralized scheme that preserves a broad role for state regulation.”

Id. at 450.

     3. Monsanto’s bid for preemption rests on its assertion that

Roundup is not likely to cause cancer. But Monsanto never has tested

Roundup properly to assess whether that is true. To the contrary, since

Roundup was approved 49 years ago in 1974, Monsanto has worked

steadily to avoid such testing and to hide or slant evidence that

Roundup may in fact cause cancer, particularly for long-term users who

were never told of the risks of such use or advised by Monsanto to wear

protective gear or limit use. See supra pp.7-15.




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     Rather than test Roundup for long-term risks of cancer or provide

such basic warnings, Monsanto instead has waged a nearly half-century

campaign to pad its bottom line by using TV commercials that show

people “spraying Roundup in shorts and without gloves,” Pilliod v.

Monsanto Co., 282 Cal. Rptr. 3d 679, 692 (Cal. Ct. App. 2021), or that

tell audiences they can “feel good” about using Roundup around kids

and pets, App.20 (¶ 31). At the same time, the company seeks to avoid

financial responsibility for the significant harms to human health that

its product caused and that basic warnings might avoid. But the health

and lives of ordinary citizens who used Roundup for long periods with

no proper warnings should not be used as human currency to subsidize

Monsanto’s conduct.

      Although Dr. Parry found evidence of genotoxicity and

recommended further testing, “Monsanto did not conduct those studies

and did not submit the expert’s report to the EPA.” Chapman v.

Monsanto Co., 2022 WL 3971287, at *10 (S.D. Tex.). Instead, Monsanto

sought a different expert, Dr. Williams, to support its position on

glyphosate and “ghostwrote an article under [his] name” – an article on

which EPA relied in glyphosate papers. Id. at *9-10.


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     Further, at least three Monsanto toxicologists have suggested

Roundup as formulated might cause cancer though they were reluctant

to find out for certain: (1) Martens wrote that “if somebody came to me

and said they wanted to test Roundup I . . . would react . . . with serious

concern”; (2) Heydens wrote that “Glyphosate is OK but the formulated

product (and thus the surfactant) does the damage”; (3) Farmer wrote

that “you cannot say that Roundup is not a carcinogen because we have

not done the necessary testing on the formulation to make that

statement.” Hardeman, 997 F.3d at 971 (quoting emails; alterations

omitted). Based on such evidence, at least three juries (Johnson,26

Hardeman,27 and Pilliod28) now have assessed punitive damages

against Monsanto for its callous conduct, and in each case the appellate

court found the evidence sufficient to support such an award.




     26Jury awarded $250 million in punitive damages, reduced to just
over $10 million. Johnson v. Monsanto Co., 266 Cal. Rptr. 3d 111, 120,
129, 136 (Cal. Ct. App. 2020).
     27 Jury awarded $75 million in punitive damages, reduced to $20
million. Hardeman, 997 F.3d at 970.
     28 Jury awarded $2 billion in punitive damages to two plaintiffs,
reduced to approximately $70 million. Pilliod, 282 Cal. Rptr. 3d at 697-
98, 720.

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     Consistent with that don’t-ask-don’t-tell approach, Monsanto has

admitted that it “has never conducted an epidemiological study to study

the association between glyphosate-containing formulations and

[cancer]”; “has not conducted a long-term animal carcinogenicity study

on glyphosate since 1991”; and “has never conducted a 12-month or

longer term animal carcinogenicity study on any surfactants used in

glyphosate-based products.” Chapman, 2022 WL 3971287, at *16

(quoting Monsanto’s interrogatory responses). But such ostrich-like

behavior is the antithesis of scientific transparency that would support

Monsanto’s claim (and EPA’s now-vacated conclusion) that Roundup or

glyphosate is “not likely” carcinogenic – particularly for longer-term

use, which Monsanto admits never has been tested. Cf. Omnicare, Inc.

v. Laborers Dist. Council Constr. Indus. Pension Fund, 575 U.S. 175,

191 (2015) (“the expression of an opinion may carry with it an implied

assertion, not only that the speaker knows no facts which would

preclude such an opinion, but that he does know facts which justify it”)

(emphasis added) (quoting W. Page Keeton et al., Prosser and Keeton on

Torts § 109, at 760 (5th ed. 1984)).




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     Monsanto’s practice of hiding the defects in Roundup shows why

personal-injury suits “may aid in the exposure of new dangers

associated with pesticides,” as an adjunct to the agency’s misbranding

power. Bates, 544 U.S. at 451. Indeed, civil lawsuits – not EPA review

– finally revealed Monsanto’s efforts to avoid proper testing that could

show the cancer risks from using Roundup, and the internal judgments

of its own toxicologists that Roundup might cause cancer. See supra

pp.7-15 (detailing this history).

     Because EPA relies on manufacturer-submitted materials when

registering products, having the civil justice system as a counterbalance

serves Congress’s purpose in FIFRA to make pesticides safer for

consumers. Lawsuits like Carson’s provide “remedies that enforce

federal misbranding requirements,” which as Bates explained “would

seem to aid, rather than hinder, the functioning of FIFRA.” Id.

Further, “lay juries are in no sense anathema to FIFRA’s scheme”

because in a criminal prosecution they “necessarily pass on allegations

of misbranding.” Id. at 452 (citing § 136l(b)).

     Monsanto’s ongoing campaign to skew the science and avoid doing

the studies recommended by its own scientists to determine the cancer


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risk of prolonged Roundup use is well-documented, and was geared to

increase sales by avoiding basic warnings to wear protective gear.

      There is no express preemption under FIFRA.

II.   Carson’s Failure-To-Warn Claim Is Not Impliedly
      Preempted

      It is unclear from Monsanto’s petition whether it intends to argue

implied preemption. The doctrine of implied preemption does not apply

to labeling requirements under FIFRA. But even if the doctrine

applied, it would not bar Carson’s claim.

      A.   There Is No Implied Preemption Under FIFRA

      The doctrine of implied preemption does not apply under FIFRA.

Implied preemption arises, for example, when a statute contains no

express-preemption provision, but it is nonetheless impossible to comply

with both state-law mandates (such as a duty to warn of cancer risks)

and federal-law requirements. FIFRA does have an express-preemption

provision, yet it leaves a broad role for state regulation of pesticides.

FIFRA therefore strikes a careful balance. Congress decided that

FIFRA preempts state requirements only when they impose labeling or

packaging requirements “in addition to or different from those required

under [FIFRA].” § 136v(b). Congress also preserved a state’s authority

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“to regulate the sale and use of pesticides” and “to ban the sale of a

pesticide that it finds unsafe.” Pilliod, 282 Cal. Rptr. 3d at 701. Those

decisions left no room for claims of implied conflict.

     Unsurprisingly, then, the Court in Bates did not conduct an

implied-preemption analysis. The defendant had made the argument,

see Brief for the Respondent 36-37, Bates v. Dow AgroSciences LLC, No.

03-388 (U.S. Nov. 24, 2004), 2004 WL 2758217, and if the Court had

found implied preemption it would have affirmed rather than

remanded. But as Justice Thomas observed in his concurrence, that

refusal even to evaluate implied preemption “comports with this Court’s

increasing reluctance to expand federal statutes beyond their terms

through doctrines of implied pre-emption.” 544 U.S. at 459 (Thomas, J.,

concurring in the judgment in part and dissenting in part).

     B.    Even If Implied Preemption Could Apply To A State-
           Labeling Requirement Under FIFRA, It Does Not
           Apply To Carson’s Failure-To-Warn Claim

     Monsanto has drawn its implied-preemption arguments from drug

cases under the Federal Food, Drug, and Cosmetic Act, such as Merck

as discussed above in Part I.D.2.d. But courts conduct an implied-

preemption analysis in those cases because Congress has “declined to


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enact [an express-preemption] provision for prescription drugs.” Wyeth,

555 U.S. at 567. Those cases have little relevance here because FIFRA

has an express-preemption provision on the subject of labeling. But

even setting that threshold issue aside, Monsanto’s implied-preemption

arguments lack merit.

     Monsanto’s theory to the panel was that it could not add a

warning to Roundup’s labels without EPA’s approval, making it

“impossible for a private party to comply with both state and federal

requirements.” Merck, 139 S. Ct. at 1672; Doc.49 at 45. For the same

reasons discussed above under express preemption, EPA’s registration

of Roundup based on its “not likely” conclusion and the August 2019

Letter lacked the force of law to preempt. Those conclusions are even

more powerful now that the Ninth Circuit has vacated EPA’s conclusion

and the August 2019 Letter was retracted.

     For impossibility preemption to apply, a manufacturer must

present “clear evidence” that the “drug manufacturer fully informed the

[agency] of the justifications for the warning required by state law and

that the [agency], in turn, informed the drug manufacturer that the

[agency] would not approve a change to the drug’s label to include that


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warning.” Merck, 139 S. Ct. at 1672. None of those factors is met here,

and the mere “possibility of impossibility is not enough.” Id. at 1678

(alteration omitted).

     There is no “clear evidence” EPA would reject a cancer warning on

Roundup labels, as Merck requires. EPA has promulgated no

regulation requiring certain warnings on glyphosate-based product

labels and barring others. Nor has the agency taken other formal

action rejecting a warning about the cancer risks of Roundup. Instead,

an agency official has said that if a company like Monsanto asked to

include a warning that IARC “classified glyphosate as probably

carcinogenic to humans,” “this revised language could be approved by

EPA.” April 2022 Letter (App.119-20). That is the opposite of “clear

evidence” showing Carson’s claims are preempted, and Merck rejects

Monsanto’s speculative approach.

     Nor did Monsanto ever fully inform EPA of the justifications for a

cancer warning on Roundup. Rather, for 49 years since initial

registration in 1974, Monsanto has waged a campaign to slant the

science and declined to test Roundup as formulated to see whether long-

term use causes cancer. See supra pp.7-15.


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     Implied impossibility preemption therefore also fails.

                             CONCLUSION

     The Court should reverse the judgment of the district court and

hold, consistent with this Court’s panel decision, that Carson’s state-law

failure-to-warn claim is not preempted by FIFRA.




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 Dated: February 13, 2023         Respectfully submitted,

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     This brief complies with the type-volume limits of Federal Rule of

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                    CERTIFICATE OF SERVICE

     I hereby certify that on February 13, 2023, I electronically filed the

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                        7 U.S.C. § 136. Definitions

      For purposes of this subchapter—

                               *     *      *
(p)   Label and labeling

      (1)   Label

           The term “label” means the written, printed, or graphic
      matter on, or attached to, the pesticide or device or any of its
      containers or wrappers.

      (2)   Labeling

           The term “labeling” means all labels and all other written,
      printed, or graphic matter—

                 (A)    accompanying the pesticide or device at any time;
            or

                  (B) to which reference is made on the label or in
            literature accompanying the pesticide or device, except to
            current official publications of the Environmental Protection
            Agency, the United States Departments of Agriculture and
            Interior, the Department of Health and Human Services,
            State experiment stations, State agricultural colleges, and
            other similar Federal or State institutions or agencies
            authorized by law to conduct research in the field of
            pesticides.

(q) Misbranded

      (1)   A pesticide is misbranded if—

                 (A) its labeling bears any statement, design, or
            graphic representation relative thereto or to its ingredients
            which is false or misleading in any particular;

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                (B) it is contained in a package or other container or
           wrapping which does not conform to the standards
           established by the Administrator pursuant to section
           136w(c)(3) of this title;

               (C) it is an imitation of, or is offered for sale under the
           name of, another pesticide;

                (D) its label does not bear the registration number
           assigned under section 136e of this title to each establishment
           in which it was produced;

                (E) any word, statement, or other information
           required by or under authority of this subchapter to appear
           on the label or labeling is not prominently placed thereon with
           such conspicuousness (as compared with other words,
           statements, designs, or graphic matter in the labeling) and in
           such terms as to render it likely to be read and understood by
           the ordinary individual under customary conditions of
           purchase and use;

                 (F) the labeling accompanying it does not contain
           directions for use which are necessary for effecting the
           purpose for which the product is intended and if complied
           with, together with any requirements imposed under section
           136a(d) of this title, are adequate to protect health and the
           environment;

                (G) the label does not contain a warning or caution
           statement which may be necessary and if complied with,
           together with any requirements imposed under section
           136a(d) of this title, is adequate to protect health and the
           environment; or

                 (H) in the case of a pesticide not registered in
           accordance with section 136a of this title and intended for
           export, the label does not contain, in words prominently
           placed thereon with such conspicuousness (as compared with
           other words, statements, designs, or graphic matter in the
           labeling) as to render it likely to be noted by the ordinary

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           individual under customary conditions of purchase and use,
           the following: “Not Registered for Use in the United States of
           America”.

     (2)   A pesticide is misbranded if—

                 (A) the label does not bear an ingredient statement on
           that part of the immediate container (and on the outside
           container or wrapper of the retail package, if there be one,
           through which the ingredient statement on the immediate
           container cannot be clearly read) which is presented or
           displayed under customary conditions of purchase, except that
           a pesticide is not misbranded under this subparagraph if—

                       (i)   the size or form of the immediate container,
                 or the outside container or wrapper of the retail package,
                 makes it impracticable to place the ingredient statement
                 on the part which is presented or displayed under
                 customary conditions of purchase; and

                      (ii) the    ingredient      statement     appears
                 prominently on another part of the immediate container,
                 or outside container or wrapper, permitted by the
                 Administrator;

                 (B) the labeling does not contain a statement of the use
           classification under which the product is registered;

                 (C) there is not affixed to its container, and to the
           outside container or wrapper of the retail package, if there be
           one, through which the required information on the
           immediate container cannot be clearly read, a label bearing—

                       (i)   the name and address of the producer,
                 registrant, or person for whom produced;

                      (ii) the name, brand, or trademark under which
                 the pesticide is sold;

                      (iii) the net weight or measure of the content,
                 except that the Administrator may permit reasonable

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                 variations; and

                       (iv) when required by regulation of the
                 Administrator to effectuate the purposes of this
                 subchapter, the registration number assigned to the
                 pesticide under this subchapter, and the use
                 classification; and

                (D) the pesticide contains any substance or substances
           in quantities highly toxic to man, unless the label shall bear,
           in addition to any other matter required by this subchapter—

                        (i)   the skull and crossbones;

                      (ii) the word “poison” prominently in red on a
                 background of distinctly contrasting color; and

                       (iii) a statement of a practical treatment (first aid
                 or otherwise) in case of poisoning by the pesticide.

                                *     *      *

(bb) Unreasonable adverse effects on the environment

      The term “unreasonable adverse effects on the environment” means
(1) any unreasonable risk to man or the environment, taking into account
the economic, social, and environmental costs and benefits of the use of
any pesticide, or (2) a human dietary risk from residues that result from
a use of a pesticide in or on any food inconsistent with the standard under
section 346a of title 21. The Administrator shall consider the risks and
benefits of public health pesticides separate from the risks and benefits
of other pesticides. In weighing any regulatory action concerning a public
health pesticide under this subchapter, the Administrator shall weigh
any risks of the pesticide against the health risks such as the diseases
transmitted by the vector to be controlled by the pesticide.




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             7 U.S.C. § 136a. Registration of pesticides

(a)   Requirement of registration

      Except as provided by this subchapter, no person in any State may
distribute or sell to any person any pesticide that is not registered under
this subchapter. To the extent necessary to prevent unreasonable
adverse effects on the environment, the Administrator may by regulation
limit the distribution, sale, or use in any State of any pesticide that is not
registered under this subchapter and that is not the subject of an
experimental use permit under section 136c of this title or an emergency
exemption under section 136p of this title.

                              *       *      *

(c)   Procedure for registration

      (1)   Statement required

          Each applicant for registration of a pesticide shall file with the
      Administrator a statement which includes—

                 (A) the name and address of the applicant and of any
            other person whose name will appear on the labeling;

                 (B)    the name of the pesticide;

                   (C) a complete copy of the labeling of the pesticide, a
            statement of all claims to be made for it, and any directions
            for its use;

                 (D)    the complete formula of the pesticide;

                 (E) a request that the pesticide be classified for
            general use or for restricted use, or for both; and

                  (F) except as otherwise provided in paragraph (2)(D),
            if requested by the Administrator, a full description of the
            tests made and the results thereof upon which the claims are
            based, or alternatively a citation to data that appear in the
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           public literature or that previously had been submitted to the
           Administrator and that the Administrator may consider in
           accordance with the following provisions:

                               *     *      *

     (5)   Approval of registration

           The Administrator shall register a pesticide if the
     Administrator determines that, when considered with any
     restrictions imposed under subsection (d)—

                (A) its composition is such as to warrant the proposed
           claims for it;

               (B) its labeling and other material required to be
           submitted comply with the requirements of this subchapter;

                (C) it will perform its intended function without
           unreasonable adverse effects on the environment; and

                (D) when used in accordance with widespread and
           commonly recognized practice it will not generally cause
           unreasonable adverse effects on the environment.

     The Administrator shall not make any lack of essentiality a
     criterion for denying registration of any pesticide. Where two
     pesticides meet the requirements of this paragraph, one should not
     be registered in preference to the other. In considering an
     application for the registration of a pesticide, the Administrator
     may waive data requirements pertaining to efficacy, in which event
     the Administrator may register the pesticide without determining
     that the pesticide’s composition is such as to warrant proposed
     claims of efficacy. If a pesticide is found to be efficacious by any
     State under section 136v(c) of this title, a presumption is
     established that the Administrator shall waive data requirements
     pertaining to efficacy for use of the pesticide in such State.

                               *     *      *

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(f)   Miscellaneous

      (1)   Effect of change of labeling or formulation

            If the labeling or formulation for a pesticide is changed, the
      registration shall be amended to reflect such change if the
      Administrator determines that the change will not violate any
      provision of this subchapter.

      (2)   Registration not a defense

            In no event shall registration of an article be construed as a
      defense for the commission of any offense under this subchapter. As
      long as no cancellation proceedings are in effect registration of a
      pesticide shall be prima facie evidence that the pesticide, its
      labeling and packaging comply with the registration provisions of
      the subchapter.

                                *      *      *

(g)   Registration review

      (1)   General rule

            (A)   Periodic review

                  (i)    In general

                 The registrations of pesticides are to be periodically
            reviewed.

                  (ii)   Regulations

                        In accordance with this subparagraph, the
                  Administrator shall by regulation establish a procedure
                  for accomplishing the periodic review of registrations.




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                 (iii) Initial registration review

                       The Administrator shall complete the registration
                 review of each pesticide or pesticide case, which may be
                 composed of 1 or more active ingredients and the
                 products associated with the active ingredients, not
                 later than the later of—

                        (I)    October 1, 2022; or

                        (II)   the date that is 15 years after the date on
                               which the first pesticide containing a new
                               active ingredient is registered.

                 (iv) Subsequent registration review

                       Not later than 15 years after the date on which the
                 initial registration review is completed under clause (iii)
                 and each 15 years thereafter, the Administrator shall
                 complete a subsequent registration review for each
                 pesticide or pesticide case.

                                 *     *      *




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      7 U.S.C. § 136a-1. Reregistration of registered pesticides

                                *     *      *

(b)   Reregistration phases

      Reregistrations of pesticides under this section shall be carried out
in the following phases:

            (1) The first phase shall include the listing under subsection
      (c) of the active ingredients of the pesticides that will be
      reregistered.

            (2) The second phase shall include the submission to the
      Administrator under subsection (d) of notices by registrants
      respecting their intention to seek reregistration, identification by
      registrants of missing and inadequate data for such pesticides, and
      commitments by registrants to replace such missing or inadequate
      data within the applicable time period.

           (3) The third phase shall include submission to the
      Administrator by registrants of the information required under
      subsection (e).

            (4) The fourth phase shall include an independent, initial
      review by the Administrator under subsection (f) of submissions
      under phases two and three, identification of outstanding data
      requirements, and the issuance, as necessary, of requests for
      additional data.

           (5) The fifth phase shall include the review by the
      Administrator under subsection (g) of data submitted for
      reregistration and appropriate regulatory action by the
      Administrator.

                                *     *      *




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        7 U.S.C. § 136d. Administrative review; suspension


(a)   Existing stocks and information

                                *      *      *

      (2) Information

            If at any time after the registration of a pesticide the
      registrant has additional factual information regarding
      unreasonable adverse effects on the environment of the pesticide,
      the registrant shall submit such information to the Administrator.

(b)   Cancellation and change in classification

      If it appears to the Administrator that a pesticide or its labeling or
other material required to be submitted does not comply with the
provisions of this subchapter or, when used in accordance with
widespread and commonly recognized practice, generally causes
unreasonable adverse effects on the environment, the Administrator may
issue a notice of the Administrator’s intent either—

           (1) to cancel its registration or to change its classification
      together with the reasons (including the factual basis) for the
      Administrator’s action, or

            (2) to hold a hearing to determine whether or not its
      registration should be canceled or its classification changed.

Such notice shall be sent to the registrant and made public. In
determining whether to issue any such notice, the Administrator shall
include among those factors to be taken into account the impact of the
action proposed in such notice on production and prices of agricultural
commodities, retail food prices, and otherwise on the agricultural
economy. At least 60 days prior to sending such notice to the registrant
or making public such notice, whichever occurs first, the Administrator
shall provide the Secretary of Agriculture with a copy of such notice and
an analysis of such impact on the agricultural economy. If the Secretary
comments in writing to the Administrator regarding the notice and
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analysis within 30 days after receiving them, the Administrator shall
publish in the Federal Register include among those factors to be taken
into account the impact of such final action on production and prices of
agricultural commodities, retail food prices, and otherwise on the
agricultural economy, and the Administrator shall publish in the Federal
Register an analysis of such impact (with the notice) the comments of the
Secretary and the response of the Administrator with regard to the
Secretary’s comments. If the Secretary does not comment in writing to
the Administrator regarding the notice and analysis within 30 days after
receiving them, the Administrator may notify the registrant and make
public the notice at any time after such 30-day period notwithstanding
the foregoing 60-day time requirement. The time requirements imposed
by the preceding 3 sentences may be waived or modified to the extent
agreed upon by the Administrator and the Secretary. Notwithstanding
any other provision of this subsection and section 136w(d) of this title, in
the event that the Administrator determines that suspension of a
pesticide registration is necessary to prevent an imminent hazard to
human health, then upon such a finding the Administrator may waive
the requirement of notice to and consultation with the Secretary of
Agriculture pursuant to this subsection and of submission to the
Scientific Advisory Panel pursuant to section 136w(d) of this title and
proceed in accordance with subsection (c) of this section. When a public
health use is affected, the Secretary of Health and Human Services
should provide available benefits and use information, or an analysis
thereof, in accordance with the procedures followed and subject to the
same conditions as the Secretary of Agriculture in the case of agricultural
pesticides. The proposed action shall become final and effective at the
end of 30 days from receipt by the registrant, or publication, of a notice
issued under paragraph (1), whichever occurs later, unless within that
time either (i) the registrant makes the necessary corrections, if possible,
or (ii) a request for a hearing is made by a person adversely affected by
the notice. In the event a hearing is held pursuant to such a request or to
the Administrator’s determination under paragraph (2), a decision
pertaining to registration or classification issued after completion of such
hearing shall be final. In taking any final action under this subsection,
the Administrator shall consider restricting a pesticide’s use or uses as
an alternative to cancellation and shall fully explain the reasons for these
restrictions, and shall include among those factors to be taken into
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account the impact of such final action on production and prices of
agricultural commodities, retail food prices, and otherwise on the
agricultural economy, and the Administrator shall publish in the Federal
Register an analysis of such impact




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                        7 U.S.C. § 136j. Unlawful acts

(a)   In general

            (1) Except as provided by subsection (b) of this section, it
      shall be unlawful for any person in any State to distribute or sell to
      any person—

                  (A) any pesticide that is not registered under section
            136a of this title or whose registration has been canceled or
            suspended, except to the extent that distribution or sale
            otherwise has been authorized by the Administrator under
            this subchapter;

                   (B) any registered pesticide if any claims made for it
            as a part of its distribution or sale substantially differ from
            any claims made for it as a part of the statement required in
            connection with its registration under section 136a of this
            title;

                   (C) any registered pesticide the composition of which
            differs at the time of its distribution or sale from its
            composition as described in the statement required in
            connection with its registration under section 136a of this
            title;

                  (D) any pesticide which has not been colored or
            discolored pursuant to the provisions of section 136w(c)(5) of
            this title;

                 (E)     any pesticide which is adulterated or misbranded;
            or

                 (F)     any device which is misbranded.

                                 *        *       *




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                         7 U.S.C. § 136l. Penalties


(a)   Civil penalties

      (1)   In general

            Any registrant, commercial applicator, wholesaler, dealer,
      retailer, or other distributor who violates any provision of this
      subchapter may be assessed a civil penalty by the Administrator of
      not more than $5,000 for each offense.

      (2)   Private applicator

             Any private applicator or other person not included in
      paragraph (1) who violates any provision of this subchapter
      subsequent to receiving a written warning from the Administrator
      or following a citation for a prior violation, may be assessed a civil
      penalty by the Administrator of not more than $1,000 for each
      offense, except that any applicator not included under paragraph
      (1) of this subsection who holds or applies registered pesticides, or
      uses dilutions of registered pesticides, only to provide a service of
      controlling pests without delivering any unapplied pesticide to any
      person so served, and who violates any provision of this subchapter
      may be assessed a civil penalty by the Administrator of not more
      than $500 for the first offense nor more than $1,000 for each
      subsequent offense.

      (3)   Hearing

            No civil penalty shall be assessed unless the person charged
      shall have been given notice and opportunity for a hearing on such
      charge in the county, parish, or incorporated city of the residence of
      the person charged.

      (4)   Determination of penalty

            In determining the amount of the penalty, the Administrator
      shall consider the appropriateness of such penalty to the size of the
      business of the person charged, the effect on the person’s ability to
      continue in business, and the gravity of the violation. Whenever
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      the Administrator finds that the violation occurred despite the
      exercise of due care or did not cause significant harm to health or
      the environment, the Administrator may issue a warning in lieu of
      assessing a penalty.

      (5)   References to Attorney General

            In case of inability to collect such civil penalty or failure of any
      person to pay all, or such portion of such civil penalty as the
      Administrator may determine, the Administrator shall refer the
      matter to the Attorney General, who shall recover such amount by
      action in the appropriate United States district court.

(b)   Criminal penalties

      (1)   In general

            (A) Any registrant, applicant for a registration, or producer
      who knowingly violates any provision of this subchapter shall be
      fined not more than $50,000 or imprisoned for not more than 1 year,
      or both.
            (B) Any commercial applicator of a restricted use pesticide,
      or any other person not described in subparagraph (A) who
      distributes or sells pesticides or devices, who knowingly violates
      any provision of this subchapter shall be fined not more than
      $25,000 or imprisoned for not more than 1 year, or both.

      (2)   Private applicator

            Any private applicator or other person not included in
      paragraph (1) who knowingly violates any provision of this
      subchapter shall be guilty of a misdemeanor and shall on conviction
      be fined not more than $1,000, or imprisoned for not more than 30
      days, or both.

      (3)   Disclosure of information

           Any person, who, with intent to defraud, uses or reveals
      information relative to formulas of products acquired under the
      authority of section 136a of this title, shall be fined not more than
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      $10,000, or imprisoned for not more than three years, or both.

      (4)   Acts of officers, agents, etc.

            When construing and enforcing the provisions of this
      subchapter, the act, omission, or failure of any officer, agent, or
      other person acting for or employed by any person shall in every
      case be also deemed to be the act, omission, or failure of such person
      as well as that of the person employed.




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                   7 U.S.C. § 136v. Authority of States

(a)   In general

      A State may regulate the sale or use of any federally registered
pesticide or device in the State, but only if and to the extent the regulation
does not permit any sale or use prohibited by this subchapter.

(b)   Uniformity

      Such State shall not impose or continue in effect any requirements
for labeling or packaging in addition to or different from those required
under this subchapter.

(c)   Additional uses

      (1) A State may provide registration for additional uses of
federally registered pesticides formulated for distribution and use within
that State to meet special local needs in accord with the purposes of this
subchapter and if registration for such use has not previously been
denied, disapproved, or canceled by the Administrator. Such registration
shall be deemed registration under section 136a of this title for all
purposes of this subchapter, but shall authorize distribution and use only
within such State.

      (2) A registration issued by a State under this subsection shall
not be effective for more than ninety days if disapproved by the
Administrator within that period. Prior to disapproval, the
Administrator shall, except as provided in paragraph (3) of this
subsection, advise the State of the Administrator's intention to
disapprove and the reasons therefor, and provide the State time to
respond. The Administrator shall not prohibit or disapprove a
registration issued by a State under this subsection (A) on the basis of
lack of essentiality of a pesticide or (B) except as provided in paragraph
(3) of this subsection, if its composition and use patterns are similar to
those of a federally registered pesticide.

      (3) In no instance may a State issue a registration for a food or
feed use unless there exists a tolerance or exemption under the Federal
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Food, Drug, and Cosmetic Act [21 U.S.C. 301 et seq.] that permits the
residues of the pesticides on the food or feed. If the Administrator
determines that a registration issued by a State is inconsistent with the
Federal Food, Drug, and Cosmetic Act, or the use of, a pesticide under a
registration issued by a State constitutes an imminent hazard, the
Administrator may immediately disapprove the registration.

      (4) If the Administrator finds, in accordance with standards set
forth in regulations issued under section 136w of this title, that a State
is not capable of exercising adequate controls to assure that State
registration under this section will be in accord with the purposes of this
subchapter or has failed to exercise adequate controls, the Administrator
may suspend the authority of the State to register pesticides until such
time as the Administrator is satisfied that the State can and will exercise
adequate controls. Prior to any such suspension, the Administrator shall
advise the State of the Administrator’s intention to suspend and the
reasons therefor and provide the State time to respond.




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                        40 C.F.R. § 155.56
                Interim registration review decision.

      The Agency may issue, when it determines it to be appropriate, an
interim registration review decision before completing a registration
review. Among other things, the interim registration review decision
may require new risk mitigation measures, impose interim risk
mitigation measures, identify data or information required to complete
the review, and include schedules for submitting the required data,
conducting the new risk assessment and completing the registration
review. A FIFRA 3(c)(2)(B) notice requiring the needed data or
information may precede, accompany, or follow issuance of the interim
registration review decision. The Agency will follow procedures in
§ 155.58 when issuing an interim registration review decision




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                      40 C.F.R. § 155.58
 Procedures for issuing a decision on a registration review case.

      (a) The Agency will publish a notice in the Federal Register
announcing the availability of a proposed registration review decision or
a proposed interim registration review decision. At that time, the Agency
will place in the pesticide’s registration review docket the Agency’s
proposed decision and the bases for the decision. There will be a comment
period of at least 60 calendar days on the proposed decision.

      (b)   In its proposed decision, the Agency will, among other things:

      (1) State its proposed findings with respect to the FIFRA
standard for registration and describe the basis for such proposed
findings.

     (2) Identify proposed risk mitigation measures or other remedies
as needed and describe the basis for such proposed requirements.

       (3) State whether it believes that additional data are needed and,
if so, describe what is needed. A FIFRA 3(c)(2)(B) notice requiring such
data may be issued in conjunction with a proposed or final decision on
the registration review case or a proposed or final interim decision on a
registration review case.

      (4)   Specify proposed labeling changes; and

     (5) Identify deadlines that it intends to set for completing any
required actions.

      (c) After considering any comments on the proposed decision, the
Agency will issue a registration review decision or interim registration
review decision. This decision will include an explanation of any changes
to the proposed decision and the Agency's response to significant
comments. The Agency will publish a notice in the Federal Register
announcing the availability of a registration review decision or interim
registration review decision. The registration review case docket will
remain open until all actions required in the final decision on the

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registration review case have been completed.

      (d) If the registrant fails to take the action required in a
registration review decision or interim registration review decision, the
Agency may take appropriate action under FIFRA.




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                            40 C.F.R. § 156.10
                         Labeling requirements.

     (a) General—Contents of the label. Every pesticide product shall
bear a label containing the information specified by the Act and the
regulations in this part. The contents of a label must show clearly and
prominently the following:

      (i)  The name, brand, or trademark under which the product is
sold as prescribed in paragraph (b) of this section;

     (ii) The name and address of the producer, registrant, or person
for whom produced as prescribed in paragraph (c) of this section;

      (iii) The net contents as prescribed in paragraph (d) of this section;

       (iv) The product registration number as prescribed in paragraph
(e) of this section;

     (v) The producing establishment number as prescribed in
paragraph (f) of this section;

      (vi)   An ingredient statement as prescribed in paragraph (g) of this
section;

     (vii) Hazard and precautionary statements as prescribed in
subpart D of this part for human and domestic animal hazards and
subpart E of this part for environmental hazards.

      (viii) The directions for use as prescribed in paragraph (i) of this
section; and

      (ix)   The use classification(s) as prescribed in paragraph (j) of this
section.

                                *        *       *

      (5)    False or misleading statements. Pursuant to section 2(q)(1)(A)

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of the Act, a pesticide or a device declared subject to the Act pursuant to
§152.500, is misbranded if its labeling is false or misleading in any
particular including both pesticidal and non-pesticidal claims. Examples
of statements or representations in the labeling which constitute
misbranding include:

      (i)  A false or misleading statement concerning the composition of
the product;

      (ii) A false or misleading statement concerning the effectiveness
of the product as a pesticide or device;

      (iii) A false or misleading statement about the value of the product
for purposes other than as a pesticide or device;

     (iv)   A false or misleading comparison with other pesticides or
devices;

      (v) Any statement directly or indirectly implying that the
pesticide or device is recommended or endorsed by any agency of the
Federal Government;

      (vi) The name of a pesticide which contains two or more principal
active ingredients if the name suggests one or more but not all such
principal active ingredients even though the names of the other
ingredients are stated elsewhere in the labeling;

     (vii) A true statement used in such a way as to give a false or
misleading impression to the purchaser;

     (viii) Label disclaimers which negate or detract from labeling
statements required under the Act and these regulations;

      (ix) Claims as to the safety of the pesticide or its ingredients,
including statements such as “safe,” “nonpoisonous,” “noninjurious,”
“harmless” or “nontoxic to humans and pets” with or without such a
qualifying phrase as “when used as directed”; and

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      (x) Non-numerical and/or comparative statements on the safety
of the product, including but not limited to:

      (A)    “Contains all natural ingredients”;

      (B)    “Among the least toxic chemicals known”

      (C)    “Pollution approved”

                                *       *       *

      (i)   Directions for Use—(1) General requirements—(i) Adequacy
and clarity of directions. Directions for use must be stated in terms which
can be easily read and understood by the average person likely to use or
to supervise the use of the pesticide. When followed, directions must be
adequate to protect the public from fraud and from personal injury and
to prevent unreasonable adverse effects on the environment.

     (2) Contents of Directions for Use. The directions for use shall
include the following, under the headings “Directions for Use”:

        (i)   The statement of use classification as prescribed in paragraph
(j) of this section immediately under the heading “Directions for Use.”

     (ii) Immediately below the statement of use classification, the
statement “It is a violation of Federal law to use this product in a manner
inconsistent with its labeling.”

     (iii) The site(s) of application, as for example the crops, animals,
areas, or objects to be treated.

      (iv)   The target pest(s) associated with each site.

      (v)    The dosage rate associated with each site and pest.

      (vi) The method of application, including instructions for dilution,
if required, and type(s) of application apparatus or equipment required.

      (vii) The frequency and timing of applications necessary to obtain
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effective results without causing unreasonable adverse effects on the
environment.

     (viii) Worker protection statements meeting the requirements of
subpart K of this part.

      (ix) Specific directions concerning the storage, residue removal
and disposal of the pesticide and its container, in accordance with
subpart H of this part. These instructions must be grouped and appear
under the heading, “Storage and Disposal.” This heading must be set in
type of the same minimum sizes as required for the child hazard warning.
(See table in §156.60(b))

     (x) Any limitations or restrictions on use required to prevent
unreasonable adverse effects, such as:

      (A) Required intervals between application and harvest of food or
feed crops.

      (B)   Rotational crop restrictions.

      (C) Warnings as required against use on certain crops, animals,
objects, or in or adjacent to certain areas.

      (D) For total release foggers as defined in §156.78(d)(1), the
following statements must be included in the “Directions for Use.”

                               *        *       *

      (j)   Statement of use classification. Any pesticide product for
which some uses are classified for general use and others for restricted
use shall be separately labeled according to the labeling standards set
forth in this subsection, and shall be marketed as separate products with
different registration numbers, one bearing directions only for general
use(s) and the other bearing directions for restricted use(s) except that, if
a product has both restricted use(s) and general use(s), both of these uses
may appear on a product labeled for restricted use. Such products shall
be subject to the provisions of paragraph (j)(2) of this section.

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      (1) General Use Classification. Pesticide products bearing
directions for use(s) classified general shall be labeled with the exact
words “General Classification” immediately below the heading
“Directions for Use.” And reference to the general classification that
suggests or implies that the general utility of the pesticide extends
beyond those purposes and uses contained in the Directions for Use will
be considered a false or misleading statement under the statutory
definitions of misbranding.

      (2) Restricted Use Classification. Pesticide products bearing
direction for use(s) classified restricted shall bear statements of
restricted use classification on the front panel as described below:

      (i)   Front panel statement of restricted use classification. (A) At the
top of the front panel of the label, set in type of the same minimum sizes
as required for human hazard signal words (see table in paragraph
(h)(1)(iv) of this section), and appearing with sufficient prominence
relative to other text and graphic material on the front panel to make it
unlikely to be overlooked under customary conditions of purchase and
use, the statement “Restricted Use Pesticide” shall appear.

      (B) Directly below this statement on the front panel, a summary
statement of the terms of restriction imposed as a precondition to
registration shall appear. If use is restricted to certified applicators, the
following statement is required: “For retail sale to and use only by
Certified Applicators or persons under their direct supervision and only
for those uses covered by the Certified Applicator's certification.” If,
however, other regulatory restrictions are imposed, the Administrator
will define the appropriate wording for the terms of restriction by
regulation.




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                            40 C.F.R. § 156.60
                                   General.

      Each product label is required to bear hazard and precautionary
statements for humans and domestic animals (if applicable) as prescribed
in this subpart. Hazard statements describe the type of hazard that may
occur, while precautionary statements will either direct or inform the
user of actions to take to avoid the hazard or mitigate its effects.

      (a) Location of statements—(1) Front panel statements. The
signal word, child hazard warning, and, in certain cases, the first aid
statement are required to appear on the front panel of the label, and also
in any supplemental labeling intended to accompany the product in
distribution or sale.

      (2) Statements elsewhere on label. Hazard and precautionary
statements not required on the front panel may appear on other panels
of the label, and may be required also in supplemental labeling. These
include, but are not limited to, the human hazard and precautionary
statements, domestic animal statements if applicable, a Note to
Physician, and physical or chemical hazard statements.

      (b) Placement and prominence—(1) Front panel statements. All
required front panel warning statements shall be grouped together on
the label, and shall appear with sufficient prominence relative to other
front panel text and graphic material to make them unlikely to be
overlooked under customary conditions of purchase and use. The table
below shows the minimum type size requirements for the front panel
warning statements for various front panel sizes.

                               *        *       *




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                            40 C.F.R. § 156.62
                           Toxicity Category.

      This section establishes four Toxicity Categories for acute hazards
of pesticide products, Category I being the highest toxicity category. Most
human hazard, precautionary statements, and human personal
protective equipment statements are based upon the Toxicity Category
of the pesticide product as sold or distributed. In addition, toxicity
categories may be used for regulatory purposes other than labeling, such
as classification for restricted use and requirements for child-resistant
packaging. In certain cases, statements based upon the Toxicity
Category of the product as diluted for use are also permitted. A Toxicity
Category is assigned for each of five types of acute exposure, as specified
in the table in this paragraph.




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                            40 C.F.R. § 156.64
                              Signal word.

      (a) Requirement. Except as provided in paragraph (a)(4), each
pesticide product must bear on the front panel a signal word, reflecting
the highest Toxicity Category (Category I is the highest toxicity category)
to which the product is assigned by any of the five routes of exposure in
§ 156.62. The signal word must also appear together with the heading
for the human precautionary statement section of the labeling (see §
156.70).

      (1) Toxicity Category I. Any pesticide product meeting the
criteria of Toxicity Category I for any route of exposure must bear on the
front panel the signal word ‘‘DANGER.’’ In addition, if the product is
assigned to Toxicity Category I on the basis of its oral, inhalation or
dermal toxicity (as distinct from skin and eye irritation), the word
‘‘Poison’’ must appear in red on a background of distinctly contrasting
color, and the skull and crossbones symbol must appear in immediate
proximity to the word ‘‘Poison.’’

      (2) Toxicity Category II. Any pesticide product meeting the
criteria of Toxicity Category II as the highest category by any route of
exposure must bear on the front panel the signal word ‘‘WARNING.’’

      (3) Toxicity Category III. Any pesticide product meeting the
criteria of Toxicity Category III as the highest category by any route of
exposure must bear on the front panel the signal word ‘‘CAUTION.’’

      (4) Toxicity Category IV. A pesticide product meeting the criteria
of Toxicity Category IV by all routes of exposure is not required to bear a
signal word. If a signal word is used, it must be ‘‘CAUTION.’’

      (b)   Use of signal words. In no case may a product:

      (1) Bear a signal word reflecting a higher Toxicity Category than
indicated by the route of exposure of highest toxicity, unless the Agency
determines that such labeling is necessary to prevent unreasonable
adverse effects on man or the environment;

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      (2) Bear a signal word reflecting a lesser Toxicity Category
associated with a diluted product. Although precautionary statements for
use dilutions may be included on label, the signal word must reflect the
toxicity of the product as distributed or sold; or

      (3)   Bear different signal words on different parts of the label.




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                            40 C.F.R. § 156.80
                                 General.

     (a) Requirement. Each product is required to bear hazard and
precautionary statements for environmental hazards, including hazards
to non-target organisms, as prescribed in this subpart. Hazard
statements describe the type of hazard that may be present, while
precautionary statements direct or inform the user of actions to take to
avoid the hazard or mitigate its effects.

      (b) Location of statements. Environmental hazard and
precautionary statements may appear on any panel of the label and may
be required also in supplemental labeling. The environmental hazard
statements must appear together under the heading “Environmental
Hazards.” Typically the statements are grouped as a sub-category within
the “Precautionary Statements” section of the labeling.

     (c) Type size. All environmental hazard and precautionary
statements must be at least 6 point type.




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                         40 C.F.R. § 159.158
                What information must be submitted.

      (a) General. Information which is reportable under this part must
be submitted if the registrant possesses or receives the information, and
the information is relevant to the assessment of the risks or benefits of
one or more specific pesticide registrations currently or formerly held by
the registrant. Information relevant to the assessment of the risks or
benefits also includes conclusion(s) or opinion(s) rendered by a person
who meets any of the following

      (1) Who was employed or retained (directly or indirectly) by the
registrant, and was likely to receive such information.

     (2) From whom the registrant requested the opinion(s) or
conclusion(s) in question.

      (3)   Who is a qualified expert as described in § 159.153(b).

     (b) Exceptions—(1) Clearly erroneous information. Information
need not be submitted if before that date on which the registrant must
submit such information if all of the following conditions are met:

      (i)  The registrant discovers that any analysis, conclusion, or
opinion was predicated on data that were erroneously generated,
recorded, or transmitted, or on computational errors.

      (ii) Every author of each such analysis, conclusion, or opinion, or
as many authors as can be contacted through the use of reasonable
diligence, has acknowledged in writing that the analysis, conclusion, or
opinion was improper and has either corrected the original analysis,
conclusion, or opinion accordingly, or provided an explanation as to why
it cannot be corrected.

      (iii) As a result of the correction, the information is no longer
required to be reported under FIFRA section 6(a)(2), or if no correction
was possible, the authors agree that the original analysis, conclusion or
opinion has no scientific validity.



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      (2) Previously submitted information. Information regarding an
incident, study, or other occurrence need not be submitted if before the
date on which the registrant must submit such information, the
registrant is aware that the reportable information concerning that
incident, study, or other occurrence is contained completely in one of the
following:

     (i)  Documents officially logged in by the EPA Office of Pesticide
Programs.

     (ii) EPA publications, EPA hearing records, or publications cited
in EPA FEDERAL REGISTER notices.

     (iii) Any other documents which are contained in the official files
and records of the EPA Office of Pesticide Programs.

      (iv) Any documents officially logged in by the EPA Office of
Pollution Prevention and Toxics under the provisions of section 8(e) of
the Toxic Substances Control Act, provided that if the information
pertains to a chemical compound which, subsequent to the submission of
data under section 8(e), becomes the subject of an application for
registration as a pesticide active ingredient, information is submitted to
the Office of Pesticide Programs as required by 40 CFR 152.50(f)(3).

        (3) Publications.        A published article or report containing
information otherwise reportable under this part need not be submitted
if it fits into either of the following categories:

      (i)  Any scientific article or publication which has been abstracted
in a recognized database of scientific and medical literature, such as
Medline, ENBASE, Toxline or Index Medicus, if the abstract in question
clearly identified the active ingredient or the registered pesticide(s) to
which the information pertains. Otherwise reportable information
received by or known to the registrant prior to publication of an abstract
concerning the information must be reported and may not be withheld
pending such publication.

     (ii) Reports or publications which have been made available to
the public by any of the following Federal agencies: Centers for Disease
Control and Prevention, Consumer Products Safety Commission,
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Department of Agriculture, Department of the Interior, Food and Drug
Administration or any other agency or institute affiliated with the
Department of Health and Human Services. Otherwise reportable
information concerning research which was performed, sponsored, or
funded by the registrant which may also appear in forthcoming
Government reports or publications must be reported and may not be
withheld pending publication.

      (4) Information concerning former inerts, contaminants or
impurities. Notwithstanding any other provisions of this part, a
registrant need not report information concerning a chemical compound
that was at one time an inert ingredient or a contaminant or impurity of
a pesticide product, and would otherwise be reportable under this part,
if both of the following conditions are met:

      (i)  The compound has been eliminated from its registered
product due to changes in manufacturing processes, product formulation
or by other means.

      (ii) The registrant has informed the appropriate product manager
in the Office of Pesticide Programs in writing of the presence previously
of the inert, contaminant or impurity in the product and its subsequent
elimination from the product.




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